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                    15                        UNITED STATES DISTRICT COURT
                    16                       CENTRAL DISTRICT OF CALIFORNIA

                    17    PETER NAHM, individually; and           CASE NO:
                    18    GRACE NAHM, individually,
                                                                  COMPLAINT for:
                    19          Plaintiff,
                    20                                              1. NEGLIGENCE –
                                 v.                                    PERSONAL INJURIES
                    21

                    22    CARNIVAL CORPORATION, a                   2. INTENTIONAL
                          Panama corporation; CARNIVAL PLC,            INFLICTION OF
                    23    an England and Wales corporation; and        EMOTIONAL DISTRESS
                    24    PRINCESS CRUISE LINES, LTD., a
                          Bermuda Corporation,                    DEMAND FOR JURY TRIAL
                    25

                    26           Defendants.
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                     1         PLAINTIFFS PETER NAHM and GRACE NAHM (collectively “NAHM”),
                     2   bring this action for personal injuries against DEFENDANTS PRINCESS CRUISE
                     3   LINES, LTD. (“PRINCESS”), CARNIVAL CORPORATION (“CARNIVAL
                     4   CORP.”), and CARNIVAL PLC (“CARNIVAL PLC”; together with CARNIVAL
                     5   CORP., “CARNIVAL”; and collectively with PRINCESS and CARNIVAL CORP.
                     6   hereinafter (“DEFENDANTS”).
                     7   I.    INTRODUCTION
                     8         1.    When MR. and MRS. NAHM boarded the Coral Princess cruise ship in
                     9   San Antonio, Chile on March 5, 2020, neither of them had any knowledge, notice,
                    10   and/or warning that they were boarding a cruise ship armed with a super virus known
                    11   to be highly contagious, kill at-risk populations quickly, and have no cure—SARS-
                    12   CoV-2, the novel coronavirus that causes COVID-19.
                    13         2.    While PRINCESS and CARNIVAL maintain their United States’
                    14   headquarters in California and Florida, respectively, the officers, directors, and/or
                    15   managing agents of DEFENDANTS, and/or each of them, ignored the “state of
                    16   emergency” declarations related to COVID-19 made by the Governors of both states
                    17   as of March 4, 2020, and instead made the negligent, wrongful, unlawful, and/or
                    18   reckless decision to continue cruise ship operations without implementing any safety
                    19   protocols and/or preventative measures, despite knowledge of the catastrophic risk to
                    20   human life that COVID-19 posed and despite knowledge of the specific and acute
                    21   threat the cruise ship industry presented related to COVID-19.
                    22         3.    Due to that negligent, wrongful, unlawful, and/or reckless decision of the
                    23   officers, directors, and/or managing agents of DEFENDANTS, and/or each of them,
                    24   MR. and MRS. NAHM boarded the Coral Princess cruise ship in San Antonio, Chile
                    25   on March 5, 2020.
                    26         4.    The officers, directors, and/or managing agents of DEFENDANTS,
                    27   and/or each of them, knew of the specific and acute threat the cruise ship industry
                    28   presented related to COVID-19 as of March 4, 2020.
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                     1         5.    There had been two prior and/or on-going outbreaks aboard
                     2   DEFENDANTS’ other cruise ships: The Diamond Princess and the Grand Princess.
                     3         6.    The Diamond Princess, had been under quarantine at Yokohama’s port
                     4   near Tokyo since February 3, and as of February 20, 2020, world news was reporting
                     5   that two passengers on that cruise ship had died from COVID-19. “Both of the
                     6   passengers died about a week after tests confirmed they were infected with the
                     7   respiratory virus.” And further, “[a] total of 634 people from the Diamond Princess
                     8   have tested positive for COVID-19, the Japanese agency said. More than half that
                     9   number are identified as “asymptomatic pathogen carriers,” meaning that while
                    10   they don’t show signs of the illness, they can still transmit the disease to others
                    11   or become sick themselves.”1 An NPR article reporting on the tragedy also stated:
                    12   “When passengers test positive for the novel coronavirus, they’re taken off the
                    13   Diamond Princess and sent to local hospitals. Those diagnoses also reset the 14-day
                    14   quarantine period for their traveling partners and close contacts.”2
                    15         7.    The Grand Princess boarded new passengers on February 21, 2020, and
                    16   set off from San Francisco for Hawaii. A passenger who disembarked the Grand
                    17   Princess on February 21, 2020, but who had traveled with approximately 62
                    18   passengers and 1,000 crew members for over a week before, had COVID-19 and had
                    19   been experiencing severe respiratory symptoms for his last seven days of the cruise.3
                    20   Despite being aware of the passengers symptoms, DEFENDANTS, and/or each of
                    21   them, boarded new passengers onto the Grand Princess, and on March 4, 2020, Dr.
                    22   Grant Tarling—who is the Chief Medical Officer and hailed by both DEFENDANTS
                    23   as a world-renowned medical expert in the virulent nature of infectious diseases—
                    24
                         1
                           https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    25
                         princess-diamond-cruise-ship-passengers-die-after-contracting-covi (last accessed
                    26   June 5, 2020).
                         2
                           Id.
                    27   3
                           “Cruise Ship, Floating Symbol of America’s Fear of Coronavirus, Docks in
                    28   Oakland,” The New York Times, March 9, 2020, updated March 12, 2020. (last
       ♼                 accessed June 5, 2020).
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                     1   issued a statement to all passengers indicating knowledge of a coronavirus outbreak
                     2   aboard.
                     3         8.     Approximately two weeks before the Coral Princess’s scheduled
                     4   departure on March 5, 2020, DEFENDANTS notified passengers with South Korean
                     5   passports that they would not be allowed on the cruise, due to coronavirus-related
                     6   travel restrictions imposed by the South Korean government.
                     7         9.     As of March 2, 2020, Vice President Michael Pence had also called a
                     8   meeting with the heads of the cruise ship industry to discuss the specific and acute
                     9   threat the cruise ship industry presented related to COVID-19. 4 After that meeting,
                    10   Vice President Pence reported:
                    11                “We made it very clear that we needed cruise lines to be safer; to
                    12                establish and to embrace new protocols; screening onboard,
                                      screening off; new medical protocols; shipboard processes for
                    13                evacuating people that may contract coronavirus or a serious
                    14                illness,” Pence said at a news briefing on Monday.5
                    15         10.    Yet CARNIVAL acting through its alter ego PRINCESS, and/or each of
                    16   them, negligently, wrongfully, unlawfully, and/or with a willful and/or conscious
                    17   disregard for the safety of their passengers, invited and boarded MR. and MRS.
                    18   NAHM onto the deadly cruise ship armed with COVID-19 without providing any
                    19   notice, warning, or precautionary medical apparatuses, such as masks, and without
                    20   imposing any safety precautions, such as social distancing, and/or imposing
                    21   quarantine on prior exposed passengers and/or crew. CARNIVAL acting through its
                    22   alter ego PRINCESS, and/or each of them, also negligently, wrongfully, unlawfully,
                    23   and/or with a willful and/or conscious disregard for the safety of its passengers, failed
                    24   to disinfect, decontaminate, and/or sanitize the exposed surfaces of the cruise ship
                    25
                         4
                    26     https://www.reuters.com/article/us-health-coronavirus-airlines-whitehous/white-
                         house-set-to-meet-with-senior-airline-cruise-industry-officials-idUSKBN20P2FC
                    27
                         (last accessed June 5, 2020).
                         5
                    28     https://www.cnbc.com/2020/03/12/carnivals-princess-cruises-to-pause-global-ship-
       ♼                 operations-for-60-days-over-coronavirus.html (last accessed June 5, 2020).
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                     1   prior to boarding MR. and MRS. NAHM and failed to administer any coronavirus
                     2   tests to any prior passengers and/or crew, leaving all new passengers, including MR.
                     3   and MRS. NAHM, completely, unknowingly, and inescapably exposed to the deadly
                     4   virus.
                     5            11.   The officers, directors, and/or managing agents of DEFENDANTS,
                     6   and/or each of them, also knew of the catastrophic risk COVID-19 posed to human
                     7   life as of March 4, 2020. As of that date, COVID-19 had killed over 3,000 people and
                     8   there were over 98,000 cases reported worldwide.”6 The CDC had also reported in
                     9   February 2020, “[i]t found that the novel coronavirus is more contagious than the
                    10   related viruses which cause SARS and MERS. While the resulting disease, Covid-
                    11   19, is not as fatal on a case-by-case basis, its greater spread has already led to
                    12   more deaths than its related coronaviruses.”7 “Because the Covid-19 virus has
                    13   infected far more people than the viruses that caused SARS and MERS, the
                    14   number of people who have died from it so far has already overtaken both
                    15   viruses.”8
                    16            12.   Despite the aforementioned knowledge, the officers, directors, and/or
                    17   managing agents of DEFENDANTS, and/or each of them, made the negligent,
                    18   wrongful, unlawful, and/or reckless decision to continue cruise ship operations
                    19   without implementing any safety protocols and/or preventative measures to combat
                    20   the foreseeable, specific, and/or acute and catastrophic threat posed to their
                    21   passengers, including but not limited to, (a) screening and refusing to board
                    22   passengers and crewmembers with recent contact with countries experiencing
                    23   outbreak of COVID-19; (b) providing precautionary medical apparatuses, such as
                    24   masks, gloves and/or hand sanitizer; (c) imposing safety precautions on-board, such
                    25
                         6
                    26     https://www.worldometers.info/coronavirus/worldwide-graphs (last accessed June
                         5, 2020).
                    27   7
                           https://www.cnn.com/2020/02/19/health/coronavirus-china-sars-mers-intl-
                    28   hnk/index.html (last accessed June 5, 2020).
       ♼                 8
                           Id.
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                     1   as social distancing; (d) disinfecting, decontaminating, and/or sanitizing the exposed
                     2   surfaces of the cruise ship prior to boarding passengers; and/or (e) changing how they
                     3   off-board and on-board passengers to the ship, instead of using practices where
                     4   passengers off-boarding the ship come in close contact with passengers on-boarding
                     5   the ship. As a legal result of the aforementioned wrongdoing, PLAINTIFFS both got
                     6   COVID-19 on the Coral Princess, after first being told they had the flu.
                     7             13.   According to industry experts, commercial cruise ship companies make
                     8   money in two ways: tickets sales and on-board purchases. While tickets represent a
                     9   majority of revenue for this companies, onboard purchases account for the lion’s
                    10   share of the profit.9 This dynamic creates an obvious financial incentive for the
                    11   officers, directors, and/or managing agents of DEFENDANTS to knowingly board
                    12   passengers on a cruise ship armed with a deadly and highly contagious virus, despite
                    13   having already secured the purchase price of each passenger’s ticket.
                    14             14.   Further, Dr. Tarling, whose office is located in Santa Clarita, California,
                    15   knows (and at all relevant times knew) about the virulent nature of infectious diseases.
                    16   CARNIVAL touts his 27 years of experience overseeing the health and welfare of 12
                    17   million passengers annually and thousands of crew members aboard CARNIVAL’S
                    18   104 cruise ships across its nine cruise lines. Dr. TARLING is an internationally
                    19   recognized medical expert in the cruise industry for developing and implementing
                    20   policies and procedures to protect global travelers:
                    21             Dr. Tarling is also charged with developing and implementing
                    22             research-based public health policies and procedures that protect large
                    23             populations of global travelers. His expertise is routinely called upon
                    24             by national and international health authorities to help develop
                    25             prevention and control measures to mitigate the global spread of
                    26
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       ♼                 9
                             Id.
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                     1         communicable diseases such as Zika, Ebola, MERS, Chikungunya,
                     2         Legionella, noroviruses and novel influenza viruses.10
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                    12   II.   THE PARTIES
                    13               PLAINTIFFS
                    14         15.   PLAINTIFF Peter Nahm (“MR. NAHM”) is and was at all times
                    15   relevant to this Complaint, a resident of Syosset, New York within Nassau County.
                    16   MR. NAHM was a ticketed passenger who boarded the Coral Princess cruise on
                    17   March 5, 2020 in San Antonio, Chile after using a ticket for air travel purchased from
                    18   DEFENDANTS to fly to South America from New York.
                    19         16.   PLAINTIFF Grace Nahm (“MRS. NAHM”), is and was at all times
                    20   relevant to this Complaint, a resident of Syosset, New York within Nassau County.
                    21   MRS. NAHM was a ticketed passenger who boarded the Coral Princess cruise on
                    22   March 5, 2020 in San Antonio, Chile after using a ticket for air travel purchased from
                    23   DEFENDANTS to fly to South America from New York.
                    24

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                         10
                            https://www.princess.com/news/notices_and_advisories/notices/dr-grant-tarling-
                    27
                         chief-medical-officer.html (last accessed June 5, 2020).
                         11
                    28      https://www.theguardian.com/world/2020/apr/04/coral-princess-cruise-ship-
       ♼                 docks-florida-coronavirus-pandemic (last accessed June 5, 2020).
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                     1                DEFENDANTS
                     2          17.   DEFENDANT Carnival Corporation (“CARNIVAL CORP.”) was
                     3   incorporated in Panama in 1972. DEFENDANT Carnival plc (“CARNIVAL PLC”)
                     4   was incorporated in Wales, United Kingdom in 2000. As described by CARNIVAL
                     5   in a filing with the Securities and Exchange Commission, “Carnival Corporation and
                     6   Carnival plc operate a dual listed company (‘DLC’), whereby the businesses of
                     7   Carnival Corporation and Carnival plc are combined through a number of contracts
                     8   and through provisions in Carnival Corporation’s Articles of Incorporation and By-
                     9   Laws and Carnival plcs’s Articles of Association.” Carnival Corporation and Carnival
                    10   plc operate as a single economic enterprise, and share a senior executive management
                    11   team and identical Boards of Directors. The dual-listed company has its headquarters
                    12   in Miami, Florida. This lawsuit is being brought against both CARNIVAL CORP. and
                    13   CARNIVAL PLC for actions and decisions attributable to both taken by and on behalf
                    14   of    the dual-listed company“”. Allegations         herein   against   DEFENDANT
                    15   “CARNIVAL” refer to the dual-listed company encompassing both CARNIVAL
                    16   CORP. and CARNIVAL PLC.
                    17          18.   DEFENDANT Princess Cruise Lines LTD (“PRINCESS”) is
                    18   incorporated in Bermuda, with its headquarters in Santa Clarita, California. Santa
                    19   Clarita serves as the nerve center for PRINCESS, and all major decisions regarding
                    20   operation of its cruise ships are made at the headquarters in Santa Clarita, California.
                    21          19.   CARNIVAL and PRINCESS are collectively referred to herein as
                    22   “DEFENDANTS.”
                    23   ///
                    24   ///
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                    13         20.    Agent for DEFENDANTS, Dr. Grant Tarling, M.D., M.P.H.
                    14   (“TARLING”), is and was at all times hereto employed by DEFENDANT
                    15   CARNIVAL as the Group Senior Vice President and Chief Medical Officer for the
                    16   CARNIVAL’S cruise lines including PRINCESS, Carnival Cruise Lines, Holland
                    17   America Line, Seabourn, P&O Australia and HAP Alaska, totaling 104 ships. He
                    18   earned his medical degree from the University of Witwatersrand Medical School in
                    19   Johannesburg, South Africa, and executive master’s degree in healthcare
                    20   administration and policy from UCLA. His offices are located at the headquarters for
                    21   CARNIVAL and PRINCESS in Santa Clarita, California. Dr. Grant TARLING is a
                    22   resident of the County of Los Angeles.
                    23         21.    At all times hereto, PRINCESS and CARNIVAL advertised, marketed,
                    24   sold, and profited (directly or indirectly) from, and controlled and operated the cruise
                    25   ship Coral Princess.
                    26
                    27
                         12
                    28     Princess Cruises headquarters in Santa Clarita, California. (last accessed June 5,
       ♼                 2020).
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                     1                ALTER EGO, AGENCY & JOINT VENTURE
                     2         22.    DEFENDANTS CARNIVAL CORP. and CARNIVAL PLC are
                     3   admittedly alter egos of each other and indistinguishable as the same entity and are
                     4   therefore treated herein as DEFENDANT “CARNIVAL.”
                     5         23.    DEFENDANTS CARNIVAL and PRINCESS are alter egos of each
                     6   other such that the corporate form should be disregarded.
                     7         24.    “CARNIVAL has ownership and control over PRINCESS, which is
                     8   organized under the dual-listed CARNIVAL presenting itself as Carnival Corporation
                     9   & plc. CARNIVAL has claimed in filings with the Securities and Exchange
                    10   Commission (“SEC”) that it wholly owns PRINCESS as a subsidiary.15
                    11         25.    CARNIVAL and PRINCESS share the same Board of Directors and
                    12   almost all of the same executive officers, and appear to use the same assets.
                    13         26.    CARNIVAL serves as the parent company for PRINCESS, which it calls
                    14   a “Carnival Brand” cruise line and which CARNIVAL refers to as “part of our
                    15   growing business.” CARNIVAL exerts control over PRINCESS’s business and day-
                    16   to-day operations.
                    17         27.    CARNIVAL exerts dominion and control over PRINCESS’s business
                    18   and day-to-day operations as the parent company of PRINCESS, which CARNIVAL
                    19   refers to as a “Carnival Brand” cruise line and part of CARNIVAL’S “portfolio of
                    20   leading global, regional and national cruise brands.”16
                    21         28.    According to its 2019 Annual Report, CARNIVAL is the owner of the
                    22   Coral Princess and of all the cruise ships operated by the nine separately branded
                    23   CARNIVAL cruises lines, including PRINCESS. CARNIVAL lists some $38 billion
                    24   in “Property and Equipment, Net” on its consolidated balance sheets as assets of
                    25   CARNIVAL, out of a grand total of $45 billion in assets.17 Under Note 2, “Significant
                    26
                         15
                            See Carnival Corporation Form 10-K (“Carnival 10-K”) for the Fiscal Year Ended
                    27
                         November 30, 2019, pp. 8, 10-11.
                    28   16
                            Carnival Corporation & plc 2019 Annual Report, p. 1.
       ♼                 17
                            Carnival Corporation & plc 2019 Annual Report, p. 7.
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                     1   Accounting Policies,” CARNIVAL lists “Ships” as the first category of assets within
                     2   the section on “Property and Equipment,” and again later in the report.18 Ownership
                     3   of these assets forms a significant part of the basis for CARNIVAL’s valuation and
                     4   inducement for public investors to invest in CARNIVAL stock. As the owner of the
                     5   Coral Princess, CARNIVAL owes a direct, non-delegable duty of care to passengers
                     6   aboard the ship.
                     7         29.   The CARNIVAL Board of Directors is empowered to make decisions
                     8   governing the operation of PRINCESS, and PRINCESS makes use of CARNIVAL
                     9   assets in conducting cruise operations.19 CARNIVAL has the right to choose the
                    10   officers of PRINCESS. PRINCESS does not have its own independent board of
                    11   directors. CARNIVAL could, if it chose, dissolve and wind up PRINCESS on its own
                    12   initiative regardless of any contrary desire not to do so on the part of PRINCESS or
                    13   any of the officers of PRINCESS.
                    14         30.   Among the shared officers of CARNIVAL and PRINCESS is Dr. Grant
                    15   Tarling, who by his own admission serves as “Senior Vice President and Chief
                    16   Medical Officer” for five cruise lines owned by CARNIVAL, including PRINCESS,
                    17   Carnival Cruise Line, Carnival Australia, Seabourn, and Holland America.20 Dr.
                    18   Tarling serves at the direction of and in coordination with CARNIVAL.
                    19         31.   The decision by CARNIVAL and PRINCESS that PRINCESS cruises
                    20   proceed as scheduled in February and March, 2020, after DEFENDANTS knew or
                    21   should have known that the coronavirus was a global health threat, and the subsequent
                    22   decision to suspend cruise operations, were made by executives of CARNIVAL and
                    23   PRINCESS, including at the direction of and in consultation with CARNIVAL senior
                    24   executives, President & Chief Executive Officer Arnold W. Donald, PRINCESS
                    25   President Jan Swartz, and CARNIVAL and PRINCESS Senior Vice President and
                    26
                         18
                            Id., pp. 10-11, 17.
                    27   19
                            See id., p. 17 (listing “Ships” as CARNIVAL “Property and Equipment”).
                    28   20
                            Public LinkedIn profile of Dr. Grant Tarling, available at
       ♼                 https://www.linkedin.com/in/grant-tarling/ (last accessed Sept. 12, 2020).
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                     1   Chief Medical Officer Dr. Grant Tarling.21 CARNIVAL exercises dominion and
                     2   control over PRINCESS, as it does over each of CARNIVAL’s other cruise lines.
                     3   CARNIVAL controls, operates, harmonizes, and coordinates the operations of
                     4   PRINCESS and its other cruise lines to maximize benefits for CARNIVAL and its
                     5   shareholders. CARNIVAL controls every aspect of operations for PRINCESS,
                     6   including where to operate, what volume of cruises to offer or passengers to service
                     7   in a given market, whether to invest in new routes, nor whether to continue or suspend
                     8   services. PRINCESS does not operate without authorization from CARNIVAL.
                     9         32.    According to its 2019 Annual Report, CARNIVAL has a single
                    10   integrated operating budget for all of its cruise operations including all nine of its
                    11   cruise lines. There are no separate books for PRINCESS. There is not even a single
                    12   separate line item reflecting the separate operations and performance of PRINCESS.
                    13   Consolidated financials are reported not by cruise line, but through a geographic
                    14   sectoral approach that differentiates between the North America and Australia
                    15   (“NAA”) segment and Europe and Asia (“EA”) segment, and then adds figures for
                    16   “Cruise Support” and “Tour and Other.” These figures are not broken down to reveal
                    17   the separate performance of PRINCESS or any of the other CARNIVAL lines. The
                    18   cruise lines are not deemed relevant for shareholder analysis or from the perspective
                    19   of operating the integrated CARNIVAL business.
                    20         33.    CARNIVAL’s 2019 Annual Report discloses “Capital expenditures of
                    21   $3.8 billion for our ongoing new shipbuilding program,” without differentiating
                    22   among the cruise lines who will be operating the cruise ships once built. The Annual
                    23   Report also refers to a single “shipbuilding contract” and lists currency risk associated
                    24   with the new PRINCESS-operated Enchanted Princess on the same table of figures
                    25

                    26
                         21
                           A. Carr & C. Palmieri, “Carnival Executives Knew They Had a Virus Problem,
                    27
                         But Kept the Party Going,” Bloomberg BusinessWeek, April 16, 2020, available at:
                    28   https://www.bloomberg.com/features/2020-carnival-cruise-coronavirus/ (last
       ♼                 accessed Sept. 14, 2020).
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                     1   as the new Carnival Cruise Lines-operated Mardi Gras.22 Sales of ships are reported
                     2   without reference to cruise line affiliation; for sold ships CARNIVAL reports only the
                     3   passenger capacity and whether the ship is in the NAA segment or EA segment.23
                     4         34.     To the extent assets are assigned to or held by PRINCESS if at all, such
                     5   activity is controlled and dictated by CARNIVAL. PRINCESS does not have the right
                     6   to retain its own profits. CARNIVAL may freely assign assets and funding among its
                     7   subsidiaries including by assigning them to or removing them from control of
                     8   PRINCESS. Transactions between CARNIVAL and PRINCESS and between and
                     9   among PRINCESS and the other subsidiaries of CARNIVAL are not true arm’s length
                    10   agreements and are for the benefit of and at the direction of CARNIVAL, to the
                    11   exclusion of advancing any independent interest of PRINCESS or any of the other
                    12   CARNIVAL subsidiaries.
                    13         35.    Public investors cannot invest separately in PRINCESS, which has no
                    14   publicly traded stock of its own. Rather, investors must invest in the dual-listed
                    15   CARNIVAL, in either Carnival Corporation (CCL) or Carnival plc (CUK) on the New
                    16   York Stock Exchange or in Carnival plc (CCLL) on the London Stock Exchange.
                    17   There are no public shares of PRINCESS available to trade because PRINCESS is
                    18   owned and controlled entirely by CARNIVAL and is a mere instrumentality of
                    19   CARNIVAL.24
                    20         36.    Following the Federal Reserve’s decision to increase the size of its
                    21   lending program and thereby enable hedge funds to buy up corporate bonds at much
                    22   lower interest rates, CARNIVAL has shored up its finances via a massive infusion of
                    23   nearly $6 billion in cash. CARNIVAL is therefore well-capitalized despite the
                    24   suspension of operations at all nine of its cruise lines.25
                    25   22
                            Id. at 28; 59-60.
                    26   23
                            Id. at 17.
                         24
                            See Princess website, “For Investors” at
                    27
                         https://www.princess.com/aboutus/investors/index.jsp (last accessed Sept. 12, 2020).
                    28   25
                            M. Matousek, “The Fed may have saved Carnival from having to pay over 15%
       ♼                 interest on its new bonds,” Business Insider, Apr. 27, 2020, at
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                     1         37.    The same may not be true for PRINCESS, however. PRINCESS
                     2   suspended operations as of March 12, 2020 and still cannot operate legally under
                     3   current government orders, and therefore has not had access to its usual source of
                     4   revenue.26
                     5         38.    PRINCESS has been the hardest hit of the CARNIVAL cruise lines and
                     6   perhaps of all cruise lines globally by the pandemic, as PRINCESS has this year faced
                     7   coronavirus outbreaks aboard the Diamond Princess, Ruby Princess, and Grand
                     8   Princess in addition to the Coral Princess cruises at issue here. While over 40 cruise
                     9   ships have experienced coronavirus outbreaks during the pandemic, four have been
                    10   PRINCESS cruise ships, and those four include the three causing the most deaths
                    11   among all cruise ships globally. As of early September 2020, of 88 known fatalities
                    12   resulting from cruise ship coronavirus outbreaks globally, 52 deaths have resulted
                    13   from cruises operated by PRINCESS.27 Therefore there is a heightened but plausible
                    14
                         https://www.businessinsider.com/carnival-faced-higher-interest-rate-new-debt-
                    15
                         before-fed-action-2020-4?op=1 (last accessed Sept. 12, 2020).
                    16   26
                            C. Hansen, “Princess Cruises Suspends Service for Two Months Amid
                         Coronavirus Pandemic,” U.S. News. & World Report, Mar. 12, 2020, at
                    17
                         https://www.usnews.com/news/national-news/articles/2020-03-12/princess-cruises-
                    18   suspends-service-for-two-months-amid-coronavirus-pandemic (last accessed Sept.
                         12, 2020); Centers for Disease Control and Prevention, “Quarantine and Isolation:
                    19
                         Cruise Ship Guidance,” updated July 16, 2020, at
                    20   https://www.cdc.gov/quarantine/cruise/index.html (last accessed Sept. 13, 2020)
                         (extending government shutdown of cruise industry through September 30, 2020).
                    21   27
                            See https://www.miamiherald.com/news/business/tourism-cruises/
                    22   article241914096.html; https://www.abc.net.au/news/2020-08-14/ruby-princess-
                         coronavirus-inquiry-findings-handed-down/12557714; “Placer County announces
                    23
                         death of patient with COVID-19 | Placer County, CA”. Placer.ca.gov. March 4,
                    24   2020 (Retrieved May 6, 2020); “Lawsuit over death of retired Dallas firefighter
                         says cruise line failed to warn of outbreak”. Dallas News. April 15, 2020; Evan
                    25
                         Webeck (April 3, 2020). ”Coronavirus: Grand Princess crew member dies in SF
                    26   hospital”. Mercurynews.com. Retrieved May 6, 2020; Merlin, Michelle. ”‘It’s been
                         a nightmare’: Family recalls Whitehall man’s final days after contracting
                    27
                         coronavirus on Grand Princess cruise”. mcall.com; “Man in his 70s, Grand Princess
                    28   passenger, Marin County’s first COVID-19 death | KTVU FOX 2”. Ktvu.com.
       ♼
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                         Retrieved May 6, 2020 (last accessed Sept. 25, 2020); see generally “COVID-19
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                     1   risk that PRINCESS may be unable to cover all the claims against it to compensate
                     2   for these injuries absent financial contribution from its alter ego corporate parent
                     3   CARNIVAL.
                     4         39.    While the coronavirus was spreading globally, and cruise ship
                     5   passengers were becoming ill and dying, including passengers of CARNIVAL and
                     6   PRINCESS, certain CARNIVAL directors and officers sold significant volumes of
                     7   their CCL stock in January and February 2020. They sold their stock at a time when
                     8   they were in a unique position to understand the significance and severity of the
                     9   pandemic in a way that the broader public and public investors would not know. In
                    10   particular, CARNIVAL President & CEO Arnold Donald sold 24,699 shares of CCL
                    11   stock on February 14, 2020, at the operative share price of $42.9341, netted him a
                    12   payday of $1,060,429.34. Such transactions taking money out of the company may
                    13   impact the ability of CARNIVAL and of PRINCESS to pay meritorious claims.28
                    14         40.   As alleged herein, CARNIVAL exercises total domination over
                    15   PRINCESS to the extent that PRINCESS manifests no separate corporate interests of
                    16   its own.
                    17         41.   As alleged herein, treating CARNIVAL and PRINCESS as separate
                    18   corporate entities works injustice upon PLAINTIFFS – innocent third parties.
                    19         42.   At all times alleged herein, DEFENDANTS CARNIVAL and
                    20   PRINCESS, and/or each of them, were the agents, servants, employees, partners,
                    21   aiders and abettors, co-conspirators, and/or joint venturers of each of the other
                    22   DEFENDANTS named herein, were at all times operating and acting within the
                    23   purpose and scope of said agency, service, employment, partnership, enterprise,
                    24   conspiracy, and/or joint venture, and each DEFENDANT has ratified and approved
                    25   the acts of each of the remaining DEFENDANTS. Each of the DEFENDANTS aided
                    26
                         pandemic on cruise ships,” and sources cited, https://en.wikipedia.org/wiki/COVID-
                    27
                         19_pandemic_on_cruise_ships (last accessed Sept. 12, 2020).
                    28   28
                            Carnival Corp., Statement of Changes in Beneficial Ownership (Form 4), Table I
       ♼                 (Feb. 19, 2020).
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                     1   and abetted, encouraged, and rendered substantial assistance to the other
                     2   DEFENDANTS in breaching their obligations to PLAINTIFFS, as alleged herein. In
                     3   taking action to aid and abet and substantially assist the commission of these wrongful
                     4   acts and other wrongdoings complained of, as alleged herein, each of the
                     5   DEFENDANTS acted with an awareness of his/her/its primary wrongdoing and
                     6   realized that his/her/its conduct would substantially assist the accomplishment of the
                     7   wrongful conduct, wrongful goals, and wrongdoing.
                     8   III.   JURISDICTION & VENUE
                     9          43.   This court has jurisdiction over this matter pursuant to California Code
                    10   of Civil Procedure § 395, because at all times relevant, DEFENDANTS, and each of
                    11   them, resided in and/or did business in the State of California and the events which
                    12   combined to produce the injuries sustained by PLAINTIFFS occurred in the County
                    13   of Los Angeles, State of California. DEFENDANTS do substantial business in
                    14   California. DEFENDANT CARNIVAL, by and through its subsidiary, PRINCESS,
                    15   markets cruise vacations to California residents. Both main a headquarters in Santa
                    16   Clarita, California, and employ thousands of California residents to work there,
                    17   including Dr. TARLING who maintains an office at the Santa Clarita headquarters.
                    18   PRINCESS directly markets and sells air travel to passengers located throughout
                    19   California to convey said passengers to the boarding locations of DEFENDANTS’
                    20   cruises. Moreover, the claims asserted herein arise from DEFENDANTS’ contacts
                    21   with California, including the sale of air travel to PLAINTIFFS who were at the time
                    22   of purchase located within California. Each of these facts independently, but also all
                    23   of these facts together, are sufficient to render the exercise of jurisdiction by this Court
                    24   over DEFENDANTS, and/or each of them, permissible under traditional notions of
                    25   fair play and substantial justice.
                    26          44.   Venue is proper in the County of Los Angeles because a substantial part
                    27   of the events, acts, omissions and/or transactions complained of herein occurred in
                    28
       ♼
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                     1   and/or originated from Los Angeles County, State of California. The amount in
                     2   controversy exceeds the jurisdiction minimum of this court.
                     3         45.    Additionally, each of the DEFENDANTS, purports to be a party to the
                     4   Passage Contract, which purports to name Los Angeles County Superior Court as the
                     5   proper venue for actions against DEFENDANTS where federal courts lack subject
                     6   matter jurisdiction, including in cases involving death arising inside the United States
                     7   where diversity of citizenship between parties does not exist. The Passage Contract
                     8   also purports that California law shall apply to such cases. PLAINTIFFS, however,
                     9   do not concede the enforceability of the Passage Contract. Nevertheless, by naming
                    10   this Court as a proper venue, DEFENDANTS have consented to personal jurisdiction
                    11   in this Court.
                    12   IV.   FACTUAL ALLEGATIONS
                    13                    THE CRUISE SHIP INDUSTRY REAPS MASSIVE PROFITS
                    14                    BY SELLING LUXURY TRAVEL TO AMERICANS
                    15         46.    Today’s CARNIVAL grew out of Carnival Cruise Lines, a cruise line
                    16   formed in 1972 by Israeli business magnate Ted Arison. Operations began with a
                    17   single cruise ship, and rapidly expanded on the strength of Arison’s vision of
                    18   rebranding and marketing luxury cruises to a vacation option accessible to the general
                    19   public. Arison gained full control of the company in 1974. By 1987, Carnival evolved
                    20   into the industry leader and went public.
                    21         47.    Expansion continued thereafter, spurred on by major acquisitions.
                    22   CARNIVAL acquired the Holland America Line in 1989, Seabourn in 1992, top
                    23   European cruise line Costa Cruises in 1997, and the Cunard Line in 1998. Then in
                    24   April 2003, CARNIVAL merged with P&O Princess Cruises plc, thereby bringing
                    25   within the CARNIVAL corporate ambit the additional Princess, P&O Cruises, P&O
                    26   Cruises Australia, AIDA Cruises, Ocean Village, and Swan Hellenic cruise lines.
                    27

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                     1         48.     CARNIVAL operates “nine cruise lines with over 102 ships, carr[ies] 12
                     2   million passengers annually, and the corporation represents 50% of the global cruise
                     3   market.” 29
                     4         49.     As CARNIVAL itself acknowledges, this extraordinary degree of
                     5   consolidation is not readily apparent. As stated on its website, “Carnival’s
                     6   unprecedented rise to the world’s largest cruise operator can be attributed to its ability
                     7   to manage brand autonomy, with each major cruise line maintaining separate sales,
                     8   marketing and reservation offices, as well as through the industry’s most aggressive
                     9   shipbuilding program.”30
                    10         50.     Based on its 2019 Annual Report, CARNIVAL is the owner of the Coral
                    11   Princess and of all the cruise ships operated by the nine separately branded
                    12   CARNIVAL cruises lines, including PRINCESS. CARNIVAL lists some $38 billion
                    13   in “Property and Equipment, Net” on its consolidated balance sheets as assets of
                    14   CARNIVAL, out of a grand total of $45 billion in assets.31 Under Note 2, “Significant
                    15   Accounting Policies,” CARNIVAL lists “Ships” as the first category of assets within
                    16   the section on “Property and Equipment.”32 Ownership of these assets forms a
                    17   significant part of the basis for CARNIVAL’s valuation and inducement for public
                    18   investors to invest in CARNIVAL stock. As the owner of the Coral Princess,
                    19   CARNIVAL owes a direct, non-delegable duty of care to passengers aboard the ship.
                    20         51.     The scope of CARNIVAL’s operations is massive. CARNIVAL bills
                    21   itself as “the world’s largest leisure travel company” and trumpets its status as “among
                    22   the most profitable and financially strong in the cruise and vacation industries.” In
                    23   Fiscal Year 2019 CARNIVAL’s operations reaped over $20.8 billion in revenue and
                    24   generated nearly $3 billion in profit.33
                    25   29
                            https://www.carnivalcorp.com/corporate-information/mission-and-history (last
                    26   accessed June 5, 2020).
                         30
                            Id.
                    27   31
                            Carnival Corporation & plc 2019 Annual Report, p. 7.
                         32
                    28      Id., pp. 10-11.
       ♼                 33
                            Carnival Corp. & plc 2019 Annual Report, p.1. (last accessed June 5, 2020).
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                     1         52.    As of 2018, “[t]he global market comprise[d] dozens of cruise lines and
                     2   more than 250 ships. But three players — Carnival Corporation & PLC, Royal
                     3   Caribbean Cruises LTD, and Norwegian Cruise Line HLD — control[led] roughly
                     4   75% of the market.”34 “These companies, which preside over an empire of subsidiary
                     5   cruise lines, collectively raked in $34.2B in revenue in 2018.”
                     6         53.    “In 2011, three-quarters of the nearly 16 million cruise bookings
                     7   worldwide were made from the United States, according to the industry group Cruise
                     8   Lines International Association, which represents 26 cruise lines, including the
                     9   world’s largest, Carnival and Royal Caribbean.”35
                    10         54.    And “[i]n 2018, 28.5m passengers — the bulk of them from America —
                    11   spent more than $46B on cruises globally.”36
                    12                DEFENDANTS KNEW COVID-19 WAS HIGHLY
                    13                CONTAGIOUS AND DEADLY BEFORE INVITING
                                      PLAINTIFFS TO BOARD THE CORAL PRINCESS
                    14

                    15         55.    The cruise industry has a well-documented problem with the spread of
                    16   disease on board cruise ships, so much so that the United States Centers for Disease
                    17   Control and Prevention (CDC) maintains a Vessel Sanitation Program to inspect
                    18   cruise ships and report and track onboard viral outbreaks.
                    19         56.    Since 1994, PRINCESS cruise ships have hosted over 50 outbreaks of
                    20   norovirus and other pathogens, and other CARNIVAL lines have experienced
                    21   countless others.
                    22   ///
                    23   ///
                    24

                    25

                    26
                         34
                            https://thehustle.co/the-economics-of-cruise-ships/ (last accessed June 5, 2020).
                    27   35
                            https://www.cnn.com/2013/02/13/opinion/walker-cruise-ships/index.html (last
                    28   accessed June 5, 2020).
       ♼                 36
                            https://thehustle.co/the-economics-of-cruise-ships/ (last accessed June 5, 2020).
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                    14         57.    To assuage potential passengers’ concerns about viruses on board,
                    15   CARNIVAL’S website also touts its Health, Environmental, Safety, Security, and
                    16   Sustainability Policy, highlighting that CARNIVAL and its operating lines (including
                    17   PRINCESS) “are committed to protecting the health, safety, and security of our
                    18   passengers, guests, employees, and all others working on our behalf, thereby
                    19   promoting an organization that always strives to be free of injuries, illness and loss.”
                         38
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                    22   ///
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                         37
                            https://www.cruisecritic.com/photos/ships/coral-princess-278/balloon-drop-party-
                    27
                         399174/balloon-drop-party--v17735161/ (last accessed June 5, 2020).
                         38
                    28      https://www.carnivalplc.com/static-files/0b8327aa-c3be-4022-a1a5-a6dad7123af7
       ♼                 (last accessed June 5, 2020).
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                    14         58.   CARNIVAL confirms this commitment on its website, offering the
                    15   following assurance on a page bearing the caption, “Carnival’s Commitment to
                    16   Guest and Crew Health”:
                    17               Carnival Cruise Line’s highest responsibilities include the
                    18               health and safety of our guests and crew. Coronavirus is a
                    19               fluid situation and we continue to work closely with public
                    20               health experts and the Cruise Lines International Association
                    21               (CLIA), to monitor, screen and implement best practices to
                    22               protect the health of our guests and crew as it relates to
                    23               COVID-19 (coronavirus). Our monitoring, screening and
                    24               operational protocols are designed to be flexible so that we
                    25               can effectively adapt to changes as they occur.40
                    26
                    27
                         39
                            https://www.cruisecritic.com/photos/ships/coral-princess-278/universe-lounge-
                    28   396741/universe-lounge--v17734502/ (last accessed June 5, 2020).
       ♼                 40
                            https://www.carnival.com/health-and-sailing-updates (last accessed June 5, 2020).
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                     1         59.    CARNIVAL employs Dr. TARLING both directly and through
                     2   PRINCESS, and he is touted by both as an expert on policies and procedures to prevent
                     3   the spread of communicable diseases on CARNIVAL’S more than 100 cruise ships.
                     4   TARLING is responsible for public health concerns for CARNIVAL and PRINCESS
                     5   as Group Senior Vice President and Chief Medical Officer, to serve in that capacity
                     6   for both companies. He is a medical doctor and according to the website, “earned an
                     7   Executive Master of Public Health degree in Health Care Management and Policy,
                     8   and Global Health certification from [UCLA].” In addition, in “2016, he was elected
                     9   for a second, four-year term as Chair and Chair-Elect of the Cruise Ship Medicine
                    10   Section of the American College of Emergency Physicians. In that role, he vigorously
                    11   championed best-practice healthcare guidelines that have been adopted by the Cruise
                    12   Line International Association (CLIA) whose members represent 95% of the world’s
                    13   cruise lines.” According to Dr. TARLING, a ship’s medical facility is not a mere first-
                    14   aid clinic. “Each ship’s modern medical center has a physical infrastructure that
                    15   allows provision of a broad range of both ambulatory care services and inpatient
                    16   hospital services, including an ICU. It has a self-contained pharmacy, lab and
                    17   imaging, which is staffed by a small physician-led clinical team.” He oversees about
                    18   800 clinical staff working at sea who are supported by about 50 staff in the U.S.
                    19   between Los Angeles, Miami, and Seattle.41
                    20         60.    The coronavirus now known as SARS-CoV-2 first appeared in Wuhan,
                    21   Hubei Province within the People’s Republic of China in December 2019.
                    22         61.    National Geographic reported on February 18, 2020, that “[f]or most
                    23   patients, COVID-19 begins and ends in their lungs, because like the flu, coronaviruses
                    24   are respiratory diseases.”42 And labeled respiratory failure as “the defining signature
                    25   of severe cases”.
                    26
                         41
                            https://americanhealthcareleader.com/2018/how-grant-tarling-navigates-
                    27
                         healthcare-for-8-million-travelers/ (last accessed June 5, 2020).
                         42
                    28      https://www.nationalgeographic.com/science/2020/02/here-is-what-coronavirus-
       ♼                 does-to-the-body/#close (last accessed June 5, 2020).
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                     1
                               62.   CNN reported on February 19, 2020, regarding the results of the most
                     2
                         extensive and comprehensive study of the coronavirus performed by China’s CDC
                     3
                         and published in The Chinese Journal of Epidemiology two days prior. “It found that
                     4
                         the novel coronavirus is more contagious than the related viruses which cause
                     5
                         SARS and MERS. While the resulting disease, Covid-19, is not as fatal on a case-
                     6
                         by-case basis, its greater spread has already led to more deaths than its related
                     7
                         coronaviruses.”43 “Because the Covid-19 virus has infected far more people than
                     8
                         the viruses that caused SARS and MERS, the number of people who have died
                     9
                         from it so far has already overtaken both viruses.”44
                    10
                               63.   On February 20, 2020, NPR reported “[m]ore than 75,000 COVID-19
                    11
                         cases have been confirmed worldwide, according to a disease-tracking dashboard
                    12
                         created by the Johns Hopkins Whiting School of Engineering. The virus has killed
                    13
                         more than 2,000 people … .”45 The same article reported that “[t]he number of
                    14
                         confirmed COVID-19 cases in South Korea has doubled in just 24 hours, to 104 from
                    15
                         51” according to the Korea Centers for Disease Control and Prevention.
                    16
                               64.   Any lingering doubt about the direct and specific danger the coronavirus
                    17
                         posed to cruise ships went away with the highly publicized outbreak aboard the
                    18
                         Diamond Princess, another of DEFENDANTS’ cruise ships, several weeks earlier.
                    19
                         The Diamond Princess had been under quarantine at Yokohama’s port near Tokyo
                    20
                         since February 3, and as of February 20, 2020, the global press was reporting that two
                    21
                         passengers on that cruise ship had died from COVID-19. “Both of the passengers died
                    22
                         about a week after tests confirmed they were infected with the respiratory virus.” And
                    23
                         further, “[a] total of 634 people from the Diamond Princess have tested positive
                    24

                    25   43
                            https://www.cnn.com/2020/02/19/health/coronavirus-china-sars-mers-intl-
                    26   hnk/index.html (last accessed June 5, 2020).
                         44
                            Id.
                    27   45
                            https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    28   princess-diamond-cruise-ship-passengers-die-after-contracting-covi (last accessed
       ♼                 June 5, 2020).
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                     1   for COVID-19, the Japanese agency said. More than half that number are
                     2   identified as “asymptomatic pathogen carriers,” meaning that while they don’t
                     3   show signs of the illness, they can still transmit the disease to others or become
                     4   sick themselves.”46 An NPR article reporting on the tragedy also stated: “When
                     5   passengers test positive for the novel coronavirus, they’re taken off the Diamond
                     6   Princess and sent to local hospitals. Those diagnoses also reset the 14-day
                     7   quarantine period for their traveling partners and close contacts.”47
                     8         65.   Accordingly, the United States CDC issued the following Media
                     9   Statement regarding the Diamond Princess outbreak on February 18, 2020:
                    10               CDC believes the rate of new reports of positives new on
                    11               board, especially among those without symptoms, highlights
                    12               the high burden of infection on the ship and the potential for
                    13               ongoing risk.
                    14         66.   Nevertheless, DEFENDANTS, and/or each of them, disregarded this
                    15   crucial information when knowingly faced with another likely COVID-19 positive
                    16   passenger on a different cruise ship—the Grand Princess—an outbreak
                    17   DEFENDANTS first acknowledged publicly on March 4, 2020, though they had been
                    18   aware of it sometime earlier.
                    19         67.   Prior to February 21, 2020, the Grand Princess had been on a roundtrip
                    20   cruise from San Francisco to Mexico. The Mexico cruise departed from San Francisco
                    21   on February 11, 2020, and was scheduled to return to San Francisco on February 21,
                    22   2020, when the Grand Princess was scheduled to off-load some passengers and on-
                    23   board some new passengers, then set sail to Hawaii.
                    24

                    25   46
                            https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    26   princess-diamond-cruise-ship-passengers-die-after-contracting-covi (last accessed
                         June 5, 2020).
                    27   47
                            https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    28   princess-diamond-cruise-ship-passengers-die-after-contracting-covi (last accessed
       ♼                 June 5, 2020).
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                    14            68.   On February 20, 2020, the infected passenger aboard the Grand Princess
                    15   visited that cruise ship’s medical center to seek treatment for symptoms including
                    16   “acute respiratory distress.” Medical personnel aboard the ship, as well as responsible
                    17   executives at CARNIVAL and PRNCESS including Dr. TARLING, knew or should
                    18   have known that the symptoms were consistent with those suffered by passengers
                    19   infected with SARS-Cov-2 aboard the Diamond Princess and others infected by the
                    20   coronavirus around the world, as reported widely in medical circles and the popular
                    21   press.
                    22            69.   Dr. TARLING in fact later admitted that a passenger aboard the earlier
                    23   Grand Princess Mexico cruise fell ill within “two or three days” of boarding the ship,
                    24   and that the timing of when the passenger’s symptoms first appeared indicates he
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                    28     Grand Princess-The Atrium-https://www.cruisecritic.com/photos/ships/grand-
       ♼                 princess-54/member-8/36093/ (last accessed June 5, 2020).
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                     1   brought the coronavirus onboard when he boarded the ship on February 11, 2020. 49
                     2   Dr. TARLING added that while onboard, the passenger had a “six-to-seven day
                     3   history of symptoms of acute respiratory illness.” 50
                     4         70.    Despite this information, DEFENDANTS, and/or each of them, off-
                     5   boarded the sick passenger and boarded new passengers onto the Grand Princess ship
                     6   in San Francisco on February 21, 2020, without providing any notice or warning to
                     7   passengers and without instituting any safety precautions. Notably, approximately 62
                     8   passengers and 1,000 crew members from the Mexico leg of the trip who had traveled
                     9   with the sick passenger for over a week did not disembark in San Francisco and
                    10   continued on the trip to Hawaii.
                    11         71.    As of the week the Coral Princess set sail, U.S. officials had announced
                    12   21 confirmed COVID-19 cases aboard the Grand Princess which was currently
                    13   moored off the coast of California.51
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                         49
                            “Cruise Ship, Floating Symbol of America’s Fear of Coronavirus, Docks in
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                         Oakland,” The New York Times, March 9, 2020, updated March 12, 2020. (last
                    26   accessed June 5, 2020).
                         50
                            “Cruises Set Sail Knowing the Risk,” The Wall Street Journal, May 2, 2020. (last
                    27
                         accessed June 5, 2020).
                         51
                    28      https://www.cnbc.com/2020/03/12/carnivals-princess-cruises-to-pause-global-
       ♼                 ship-operations-for-60-days-over-coronavirus.html (last accessed June 5, 2020).
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                     1         72.    As a result, “The U.S. Coast Guard is now investigating whether Carnival
                     2   violated a federal law that requires ships approaching U.S. ports to report outbreaks
                     3   of illness to the Coast Guard and, in certain cases, to the CDC. The rules are specific,
                     4   defining a fever as a temperature of 100.4 degrees Fahrenheit or higher, as well as
                     5   anyone who reports feeling feverish.”52 That CARNIVAL passenger died in Placer
                     6   County, California on March 4, 2020.
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                    16         73.    Once equipped both with their previously existing awareness of their
                    17   cruise ships’ susceptibility to virus outbreaks and with the specific knowledge that
                    18   two of its cruise ships, the Diamond Princess and Grand Princess, had succumbed to
                    19   onboard outbreaks of SARS-CoV-2, DEFENDANTS chose not to suspend or change
                    20   operations, but rather made the inexplicable decision to press forward in the same
                    21   manner, just “doing business as normal” and place their passengers at further risk of
                    22   infection, with no further precautions and for the sake of profit.
                    23         74.    Even as DEFENDANTS through Dr. TARLING confirmed the Grand
                    24   Princess outbreak, operations continued unabated throughout the rest of the fleet, and
                    25   on March 5, 2020 without so much as a warning to passengers DEFENDANTS
                    26
                    27   52
                           Id.
                         53
                    28     https://news.sky.com/story/coronavirus-21-people-stranded-on-grand-princess-
       ♼                 cruise-ship-test postive-for-covid-19-11951315. (last accessed June 5, 2020).
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                     1   boarded the Coral Princess at San Antonio, Chile and proceeded on a two-week South
                     2   American cruise.
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                    14         75.   Notably, less than a week later on March 12, 2020, DEFENDANTS made
                    15   the decision to suspend all cruises due to COVID-19:
                    16               Shares of Carnival Corp. plunged by more than 31% Thursday after its
                                     Princess Cruises line announced it was immediately suspending all
                    17
                                     operations for two months due to concerns over the rapidly
                    18               spreading COVID-19 pandemic.
                    19               The announcement impacts the cruise line’s fleet of 18 ships, the
                                     company said, and will affect voyages from Thursday to May 10.
                    20               Princess Cruises President Jan Swartz said the company is taking
                    21               the “bold action” to reassure investors of its commitment to the well-
                                     being of its passengers.
                    22
                                     …
                    23
                                     Current Princess voyages that are underway and scheduled to end before
                    24               March 17 will carry on as planned, the company said. Voyages that
                    25               extend beyond March 17 will be ended at the “most convenient
                                     location for guests,” the company added.
                    26
                                     …
                    27
                         54
                    28     https://www.mercury.news.com/2020/03/09/photos-coronavirus-stricken-grand-
       ♼                 princess-arrives-at-port-of-oakland/. (last accessed June 5, 2020).
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                     1                “We’ve been asked, and we’ve asked ourselves, why COVID-19
                     2                seems to be impacting Princess so heavily,” Swartz said in a video
                                      shared on YouTube. “We don’t really know.”
                     3

                     4
                                      The State Department earlier this week issued an official advisory for
                     5                Americans, especially those most vulnerable to COVID-19, which
                                      includes those with underlying health conditions, to “not travel by cruise
                     6
                                      ship.” 55
                     7

                     8         76.    In addition, it was widely reported that earlier in the week (i.e. within
                     9   days of the Coral Princess boarding passengers and disembarking), DEFENDANTS,
                    10   and/or each of them, had attended a meeting at the White House with the Vice
                    11   President to discuss the needs for safety reform in the cruise ship industry due to the
                    12   health risks exposed by COVID-19:
                    13                Representatives of the cruise ship industry have met with White
                                      House officials, including Vice President Mike Pence, to discuss a
                    14
                                      coordinated response to COVID-19, Carnival Corp. spokesman
                    15                Roger Frizzell said earlier this week.
                    16                “We made it very clear that we needed cruise lines to be safer; to
                                      establish and to embrace new protocols; screening onboard,
                    17
                                      screening off; new medical protocols; shipboard processes for
                    18                evacuating people that may contract coronavirus or a serious
                                      illness,” Pence said at a news briefing on Monday. “We’re going to
                    19
                                      work with the cruise line industry to improve the safety, improve the
                    20                health environment on cruise lines, in the short term and in the long
                                      term.”
                    21
                                      California Gov. Gavin Newsom said earlier this week that he is weighing
                    22                cruise restrictions along the California coast as he awaits new federal
                    23                guidelines for the industry. He said cruise operators should, in the
                                      mean time, introduce aggressive requirements for travelers “at the
                    24
                                      peril of that industry collapsing.”56
                    25

                    26
                         55
                            https://www.cnbc.com/2020/03/12/carnivals-princess-cruises-to-pause-global-
                    27
                         ship-operations-for-60-days-over-coronavirus.html (last accessed June 5, 2020).
                         56
                    28      https://www.cnbc.com/2020/03/12/carnivals-princess-cruises-to-pause-global-
       ♼                 ship-operations-for-60-days-over-coronavirus.html (last accessed June 5, 2020).
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                     1         77.    To make matters worse, DEFENDANTS, and/or each of them, were
                     2   made aware of this anticipated meeting with White House officials at the latest on
                     3   March 2, 2020, i.e. three days before Coral Princess boarded passengers and
                     4   disembarked, indicating notice and/or knowledge by DEFENDANTS, and/or each of
                     5   them, of the severity of the health risk to passengers on cruise ships as of that date at
                     6   the latest. As reported by Reuters on March 2, 2020:
                     7                The White House will hold meetings this week with top executives from
                                      U.S. airlines and the cruise industry amid the growing coronavirus
                     8
                                      outbreak, a spokeswoman for Vice President Mike Pence confirmed on
                     9                Monday.
                    10                …
                    11                Pence’s office said he will meet on Saturday with cruise line chief
                                      executives in Florida.57
                    12
                                      DESPITE KNOWING THEIR CRUISE SHIPS WERE ARMED
                    13                WITH A CONTAGIOUS AND DEADLY VIRUS, DEFENDANTS
                                      INVITED PLAINTIFFS TO BOARD THE SHIP AND FAILED
                    14                TO TAKE ANY SAFETY PRECAUTIONS OR WARN
                                      PASSENGERS
                    15

                    16         78.    DEFENDANTS, and/or each of them, failed to take any safety
                    17   precautions prior to and/or at the time of boarding passengers on the March 5, 2020
                    18   Coral Princess cruise.
                    19         79.    DEFENDANTS did not take measures to disinfect, sanitize, and/or
                    20   decontaminate the Coral Princess ship and/or exposed surfaces prior to boarding
                    21   passengers, including PLAINTIFFS, as they boarded in San Antonio, Chile.
                    22         80.    DEFENDANTS, and/or each of them, failed to warn, advise, and/or
                    23   provide notice to the Coral Princess passengers prior to and/or at the time of their
                    24   boarding flights to the cruise departure point, including the flight PLAINTIFFS
                    25   boarded in San Francisco on February 28, 2020, or prior to or at the time of boarding
                    26
                    27   57
                            https://www.reuters.com/article/us-health-coronavirus-airlines-whitehous/white-
                    28   house-set-to-meet-with-senior-airline-cruise-industry-officials-idUSKBN20P2FC
       ♼                 (last accessed June 5, 2020).
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                     1   the Coral Princess itself, of the system-wide risk posed to the DEFENDANTS’ cruise
                     2   ships by the rapidly spreading coronavirus.
                     3            81.   DEFENDANTS, and/or each of them, failed to subject any of the over
                     4   1,500 passengers or 878 crew members to any additional or enhanced medical or
                     5   health screening procedures, including a COVID-19 test prior to sending them on a
                     6   cruise where they would interact with one another in close quarters for over two
                     7   weeks. DEFENDANTS, and/or each of them, conducted no additional inquiries or
                     8   screening to identify and quarantine passengers who intended to board the Coral
                     9   Princess after traveling from countries experiencing outbreak of the virus.
                    10            82.   DEFENDANTS, and/or each of them, failed to provide passengers,
                    11   including PLAINTIFFS, with masks at the time of boarding and/or failed to
                    12   implement any safety procedures for socializing on the cruise ship during travel,
                    13   including social distancing and/or staying six feet apart from other unknown travelers.
                    14            83.   In addition, DEFENDANTS, and/or each of them, failed to make any
                    15   adjustments and/or changes to how they off-board and on-board passengers to the
                    16   cruise ship, and instead relied on practices where passengers off-boarding the ship
                    17   come in close contact with passengers on-boarding the ship.
                    18            84.   DEFENDANTS, and/or each of them, proceeded as if everything was
                    19   normal and nothing had changed, and the Coral Princess departed as scheduled on
                    20   March 5, 2020.
                    21                  DEFENDANTS MAKE THE LION’S SHARE OF THEIR
                    22                  PROFITS FROM ON-BOARD PASSENGER PURCHASES –
                                        NOT TICKET SALES
                    23

                    24            85.   As of 2018, “[t]he global market comprise[d] dozens of cruise lines and
                    25   more than 250 ships. But 3 players — Carnival Corporation & PLC, Royal Caribbean
                    26   Cruises LTD, and Norwegian Cruise Line HLD — control[led] roughly 75% of the
                    27   market.”58
                    28
       ♼                 58
                              https://thehustle.co/the-economics-of-cruise-ships/ (last accessed June 5, 2020).
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                     1            86.   “These companies, which preside over an empire of subsidiary cruise
                     2   lines, collectively raked in $34.2B in revenue in 2018. Cruise ships make this money
                     3   through two channels: Ticket sales and onboard purchases (e.g., alcoholic drinks,
                     4   casino gambling, spa treatments, art auctions, and shore excursions), which
                     5   passengers pay for with pre-loaded cruise cards and chip-equipped wristbands.”59
                     6            87.   “On average, tickets account for 62% of total revenue and onboard
                     7   purchases make up the remaining 38%. Though tickets represent a majority of
                     8   revenue, onboard purchases account for the lion’s share of the profit, according to
                     9   several experts.”60
                    10                  As a high fixed-cost business, a cruise ship relies on getting as many
                                        passengers as possible on the ship — even at fire-sale rates. The major
                    11
                                        cruise lines will often fill each ship to 105%-110% capacity, then
                    12                  upsell its captive consumers on additional services.
                    13

                    14                  “They have mastered the ability to get their hands into people’s
                                        pockets and to take out every last dollar,” says Ross A. Klein, a
                    15                  professor at Memorial University of Newfoundland, who has closely
                    16                  studied the cruise ship industry. “They can almost give a cabin away for
                                        free and still make a profit.”
                    17
                                        …
                    18
                                        On average, a passenger will spend $1,060 ($151/day) on a ticket and
                    19                  $650 ($92/day) on onboard purchases. After subtracting overhead costs,
                                        a ship will make out with roughly $291 in net profit per passenger, per
                    20
                                        cruise.
                    21
                                        That means that at full capacity, a single ship like Royal Caribbean’s
                    22
                                        Symphony of the Seas might make $9.8m in revenue ($1.7m of which
                    23                  is profit) during one 7-day excursion. That’s $239k in profit per day
                    24
                                        at sea.61

                    25            88.   This creates an obvious financial incentive for DEFENDANTS, and/or
                    26   each of them, to knowingly board passengers on a cruise ship in the middle of a global
                    27   59
                            Id.
                         60
                    28      Id.
       ♼                 61
                            Id.
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                     1   pandemic that created a substantial likelihood that each such cruise ship was armed
                     2   with a deadly and highly contagious virus, despite having already secured the purchase
                     3   price of each passenger’s ticket. And that is what happened here.
                     4                DEFENDANTS DID NOT WARN OR ADVISE PASSENGERS OF
                     5                THE VIRUS BEING ON-BOARD THE CORAL PRINCESS
                                      UNTIL THREE WEEKS AFTER BOARDING
                     6

                     7         89.    Despite all the signs of danger, PRINCESS in consultation with and with
                     8   the full authorization of CARNIVAL embarked the South American cruise of the
                     9   Coral Princess on March 5, 2020, as scheduled.
                    10         90.    The next day, March 6, 2020, CARNIVAL announced it would modify
                    11   its typically onerous cancellation policies and offer credit for onboard purchasers who
                    12   chose to continue with scheduled cruise travel through May 31, a move designed not
                    13   to protect passengers but rather to entice passengers to continue with their travel plans
                    14   despite the pandemic and thereby satisfy DEFENDANTS’ primary objective,
                    15   preserving their revenue stream.
                    16         91.    One week after the Coral Princess set sail from Chile, on March 12,
                    17   2020, DEFENDANTS finally acknowledged the pervasive nature of their coronavirus
                    18   problem and suspended operations.
                    19         92.    And despite the announcement of the “pause,” PRINCESS in
                    20   consultation with and with the full authorization of CARNIVAL continued operating
                    21   the Coral Princess cruise which was then underway. All that happened aboard that ill-
                    22   fated cruise resulted directly from the decision taken by CARNIVAL, PRINCESS,
                    23   and Dr. TARLING to embark on March 5 in the midst of a global pandemic. That
                    24   initial decision severely limited options for passengers and crew alike and led directly
                    25   to the injuries suffered by PLAINTIFFS and others aboard the Coral Princess.
                    26         93.    It appears that the first notification passengers received from
                    27   DEFENDANTS that anything had changed did not come until March 14, 2020, nine
                    28   days after departure. After that time, the Coral Princess no longer permitted
       ♼
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                     1   passengers to go ashore at their scheduled ports of call. PRINCESS in consultation
                     2   with and with the full authorization of CARNIVAL advised that the ship would
                     3   complete passage to the scheduled destination of Buenos Aires, Argentina, where it
                     4   was expected that those disembarking could more easily connect with their planned
                     5   onward travel. CARNIVAL, PRINCESS, and Dr. TARLING did not at this time call
                     6   for any other heightened protective measures. Apart from the changed itinerary, life
                     7   aboard the Coral Princess continued as usual.
                     8         94.    On March 17, 2020, all passengers aboard the Coral Princess were given
                     9   a temperature test. No other protective measures were imposed.
                    10         95.    On that same day, statewide and local government orders took effect in
                    11   California and touched off a wave of stay-at-home orders eventually affecting
                    12   virtually the entire United States.
                    13         96.    On March 19, 2020, the last day of the scheduled cruise, the Coral
                    14   Princess landed at Buenos Aires. Chaos reigned, as PRINCESS, in consultation with
                    15   CARNIVAL, and its agents issued seriatim, often conflicting statements about flight
                    16   itineraries and the ability of various groups and of individual passengers to disembark
                    17   the cruise ship. MR. and MRS. NAHM had an 11:58 am flight from Buenos Aires to
                    18   New York, but were not allowed to disembark because the gangway was not opened
                    19   so they missed their flight. The NAHM’s were told by the ship’s crew that the
                    20   government in Buenos Aires would not allow anyone off the ship. They were told to
                    21   book a later flight, which they did, but again, they were not allowed to disembark. In
                    22   the afternoon, some 500 passengers, citizens of Argentina and Switzerland, and others
                    23   were permitted to disembark. They departed from the cruise ship to the airport, only
                    24   to be advised that their flights were cancelled and directed to return to the cruise ship
                    25   because they did not have authorization to remain within Argentina.
                    26         97.    According to earlier statements from PRINCESS at the direction of
                    27   CARNIVAL, and/or each of them, the voyage was supposed to have ended and
                    28   passengers were supposed to be able to choose where they disembark. PRINCESS in
       ♼
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                     1   consultation with and with the full authorization of CARNIVAL stated on March 12:
                     2   “Current Princess voyages that are underway and scheduled to end before March 17
                     3   will carry on as planned, the company said. Voyages that extend beyond March 17
                     4   will be ended at the “most convenient location for guests,” the company added.”62
                     5   That is clearly not what happened. In fact, it does not even seem that DEFENDANTS
                     6   made any attempt between March 12th and March 17th to end the voyage for
                     7   passengers, regardless of whether the location was convenient or not. For MR. and
                     8   MRS. NAHM any location would have been more convenient than being on that cruise
                     9   ship.
                    10           98.   Later on March 19, 2020, passengers aboard the Coral Princess were
                    11   informed that because the Argentine government had issued an order taking effect at
                    12   midnight that would require any cruise ships to remain in port indefinitely, the Coral
                    13   Princess would be departing immediately for its nominal home port in Fort
                    14   Lauderdale, Florida. All 1,020 passengers, including some who had been returned to
                    15   the ship following flight cancellations, departed Buenos Aires along with the 878 crew
                    16   members.
                    17           99.   Only on March 19, 2020, the date when the cruise had originally been
                    18   scheduled to conclude, did PRINCESS begin issuing status update reports for the
                    19   Coral Princess as it had previously for the Diamond Princess and Grand Princess.
                    20   Over the coming days these reports would track unsuccessful efforts to arrange for
                    21   Coral Princess passengers to disembark as the ship made its way to Montevideo,
                    22   Uruguay on March 21, toward a failed attempt to land at Rio de Janeiro, Brazil on
                    23   March 24, and Bridgetown, Barbados on March 31, on its way to Fort Lauderdale.
                    24           100. The communications by PRINCESS regarding the fate of the Coral
                    25   Princess were meant to advise passengers and the public regarding its location, but
                    26   were also carefully calibrated pretext designed to limit the scope of DEFENDANTS’
                    27
                         62
                    28     https://www.cnbc.com/2020/03/12/carnivals-princess-cruises-to-pause-global-
       ♼                 ship-operations-for-60-days-over-coronavirus.html (last accessed June 5, 2020).
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                     1   ultimate liability. During the first 19 days of what had originally been scheduled as a
                     2   14-day cruise, PRINCESS in consultation with and with the full authorization of
                     3   CARNIVAL in official updates regarding the Coral Princess did not once mention
                     4   the words “virus,” “pandemic,” or “COVID-19.”
                     5         101. On March 24, 2020, however—five full days after its first public
                     6   statement—PRINCESS issued a new update announcing that Brazil had denied Coral
                     7   Princess passengers authorization to disembark, and finally mentioned the global
                     8   pandemic expressly. “There remains no known risk of COVID-19 onboard,” the
                     9   PRINCESS update stated. The update did not cite any source or disclose any facts in
                    10   support of this self-serving pronouncement.
                    11         102. On March 30, 2020, now eleven days after the scheduled conclusion of
                    12   the cruise and 25 days after it began, a new PRINCESS update announced that the
                    13   Coral Princess would be arriving in Barbados the following day to take on supplies,
                    14   though no passengers would be permitted to go ashore. Once again, DEFENDANTS’
                    15   official statement confirmed “There remains no known risk of COVID-19 onboard.”
                    16   DEFENDANTS knew or had reason to know this statement was materially misleading
                    17   and intentionally omitted all reference to a very real known risk. By the time
                    18   PRINCESS issued the March 30 update, several passengers had begun reporting
                    19   feeling ill, and had begun testing passengers for the coronavirus. Because the Coral
                    20   Princess did not have means on the cruise ship to determine test results,
                    21   DEFENDANTS as of that time had no legitimate basis for stating that no known risk
                    22   existed.
                    23         103. Undeniable facts finally eclipsed DEFENDANTS’ misrepresentations
                    24   the following day, March 31, 2020, when a subsequent PRINCESS update reported
                    25   “The medical center onboard Coral Princess has reported a higher-than-normal
                    26   number of people presenting influenza-like symptoms.” The carefully crafted message
                    27   omitted the most salient fact, that DEFENDANTS as of that time had no capability to
                    28   assess the presence of coronavirus and were therefore flying blind. The statement then
       ♼
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                           35
 MCCARTHY, LLP
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                     1   noted that many passengers “have tested positive for regular influenza, however given
                     2   the concern surrounding COVID-19 (coronavirus), and out of an abundance of
                     3   caution, guests have been asked to self-isolate in their staterooms and all meals will
                     4   now be delivered by room service. Crew will remain in their staterooms when not
                     5   working.” This public statement was the first notification PLAINTIFFS and the other
                     6   Coral Princess passengers had received about a viral outbreak on board the cruise
                     7   ship, and until that time CARNIVAL, PRINCESS, and Dr. TARLING had still
                     8   declined to impose any heightened protective measures. Up until that announcement,
                     9   the passengers had still enjoyed free run of the ship.
                    10         104. Meanwhile, unbeknownst and undisclosed to the passengers, the medical
                    11   staff aboard the Coral Princess had transmitted test samples for 13 patients exhibiting
                    12   potential COVID-19 symptoms to onshore authorities in Barbados.
                    13         105. By April 1, 2020, the NAHMS had been captive onboard for almost two
                    14   weeks since their 14-day cruise was scheduled to end on March 19. The NAHMS and
                    15   all passengers aboard the Coral Princess had been kept completely in the dark by
                    16   DEFENDANTS about the circumstances of their quarantine or when they would be
                    17   returning home. After March 19, for most of that time onboard the Coral Princess,
                    18   restaurants remained open, activities continued as usual, and passengers were allowed
                    19   to congregate and socialize in crowds without any restrictions or safeguards. There
                    20   was no mention of the coronavirus. But by April 1, a dream vacation had become a
                    21   nightmare for the NAHMS, as they were both sick. The foregoing is described in
                    22   more detail below, including the heart-wrenching video the NAHMS posted on social
                    23   media voicing their fear about being onboard without information.
                    24         106. On April 2, 2020, PRINCESS in another self-serving update announced
                    25   publicly that it had sent these test samples “in response to a reported small cluster of
                    26   cases of respiratory illness and in an abundance of caution.” Whether “abundant” or
                    27   not, the caution applied by DEFENDANTS had come too late, as fully 12 of the 13
                    28
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 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                            36
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                     1   individuals identified as symptomatic—7 passengers and 5 crew—had in fact tested
                     2   positive for COVID-19.
                     3         107. By April 3, 2020, two passengers had died on board from complications
                     4   due to COVID-19. These deaths were not disclosed in DEFENDANTS’ official
                     5   updates.
                     6         108. Meanwhile, Coast Guard officials denied permission for the Coral
                     7   Princess to land at Fort Lauderdale due to “an unacceptable risk of medical emergency
                     8   due to the inherent and high probability of transmission of COVID-19 aboard.”
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                    20         109. Passengers were finally allowed to land on April 4, 2020, at PortMiami
                    21   in Miami, Florida. Another chaotic situation developed. Several passengers requiring
                    22   immediate medical attention were transported to local hospitals via ambulance. Full
                    23   disembarkation did not begin until two days later, April 6, 2020.
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 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                         37
 MCCARTHY, LLP
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                                      PLAINTIFFS’ DREAM VACATION TURNED INTO A
                                      NIGHTMARE AFTER DEFENDANTS UNLOAD PASSENGERS
                    16                TO SUFFER AND DIE ON LAND
                    17         110. GRACE and PETER NAHM have been married for 43 years. They were
                    18   born and raised in Seoul, South Korea and married there in 1976. They have two
                    19   children, a daughter and son. PETER NAHM has worked in the insurance industry
                    20   since 1976, and since 1991, has owned his own insurance brokerage serving clients in
                    21   New York and New Jersey. The NAHMS’ hard work and stability epitomize the
                    22   American immigrant success story. They have always been active and healthy
                    23   individuals who enjoy golf, hiking and travel.
                    24         111. Every year, the NAHM’s plan a trip with MR. NAHM’S high school
                    25   friends to far and exotic places. They had been on four prior Princess cruises to Japan,
                    26   Mexico, Southern Europe, Canada and New England. For 2020, they planned a cruise
                    27   on the Coral Princess to South America and Antarctica from March 3 to 19, 2020 to
                    28   sites in Chile, Argentina and Uruguay. The cruise was ten months in planning, for 62
       ♼
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                            38
 MCCARTHY, LLP
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                     1   friends, including 48 from South Korea and 14 from the U.S., including the NAHM’S.
                     2   The NAHMS paid US $3,219.00 each for their cruise, totaling $6,438.00.
                     3         112. Approximately two weeks before the Coral Princess’s scheduled
                     4   departure on March 5, 2020, DEFENDANTS notified passengers with South Korean
                     5   passports that they would not be allowed on the cruise, due to coronavirus-related
                     6   travel restrictions imposed by the South Korean government, so the NAHMS’ 48
                     7   South Korean friends were forced to cancel their trip. The NAHMS’ attempts to
                     8   cancel the cruise prior to the March 5 departure were denied.
                     9         113. Per the PRINCESS Booking Confirmation, from the time of booking
                    10   PLAINTIFFS were immediately subject to an aggressive regime of cancellation
                    11   penalties under which they would forfeit 20% of the purchase price starting 89 days
                    12   before the departure date, or December 7, 2019; 50% of the purchase price starting 56
                    13   days before the departure date, or January 9, 2020; 75% as of February 6, 2020, four
                    14   weeks before departure; and 100% as of February 20, 2020, two weeks from departure.
                    15   Reports of virus outbreaks aboard DEFENDANTS’ cruise ships including the
                    16   Diamond Princess and Grand Princess intensified throughout this period, even as
                    17   their severity was downplayed by DEFENDANTS, such that any passenger seeking
                    18   to cancel would be subject to greater and greater penalties as the situation worsened.
                    19   DEFENDANTS finally announced that it would provide some relief from this regime
                    20   of onerous penalties, but only on March 6, 2020—the day after the Coral Princess
                    21   departed from San Antonio, Chile.
                    22         114. DEFENDANTS’ decision to prohibit South Korean passengers from
                    23   boarding the Coral Princess cruise in South America coincided with reports on
                    24   February 20, 2020, that South Korea had raised it coronavirus alert to the “highest
                    25   level” because there was a surge in infectious cases.63 Furthermore, by March 12,
                    26   2020 Argentina prohibited flights from South Korea and by March 18, required South
                    27   63
                           https://www.npr.org/sections/goatsandsoda/2020/02/20/807745305/coronavirus-2-
                    28   princess-diamond-cruise-ship-passengers-die-after-contracting-covi;
       ♼                 https://www.bbc.com/news/world-asia-51603251 (last accessed August 28, 2020).
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          39
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                     1   Korean nationals entering Argentina to quarantine for 14 days to limit the spread of
                     2   the coronavirus.64
                     3         115. Since they could not cancel their cruise without forfeiting payment, the
                     4   NAHMS felt they had no choice but to go on the cruise. On March 5, 2020 the
                     5   NAHMS and their 14 remaining friends boarded the Coral Princess in San Antonio,
                     6   Chile, and set sail for Puerto Montt. From March 6 to 13, the NAHMS and the other
                     7   passengers sailed from Chile to the Amalia Glacier, to Ushuaia, Argentina, around
                     8   Cape Horn, and on March 14, were sailing toward the coastal city of Puerto Madryn,
                     9   Argentina. Until March 14, 2020 the cruise proceeded as scheduled.
                    10         116. On the evening of March 14, 2020, the captain’s broadcast by intercom
                    11   throughout the Coral Princess advised passengers of a schedule change, notably that
                    12   the March 15 call to Puerto Madryn was aborted and no shore leave would be granted.
                    13   No further explanation was given.
                    14         117. Captain’s broadcasts advising passengers of cancelled ports of call
                    15   became common while the Coral Princess remained at sea from March 15 to 19, 2020.
                    16   But onboard the Coral Princess, restaurants remained open, activities continued as
                    17   usual, and passengers were allowed to congregate and socialize in crowds without any
                    18   restrictions or safeguards. There was no mention of the coronavirus.
                    19         118. On March 15, 2020, the captain’s broadcast reminded passengers that the
                    20   call to Puerto Madryn, Argentina was cancelled, but no further explanation was given.
                    21         119. On March 16, 2020, the captain’s broadcast announced that the Coral
                    22   Princess was heading to Buenos Aires to try allowing passengers to disembark in
                    23   Buenos Aires, but no other information was provided. From March 16 to March 19,
                    24   the Coral Princess remained at sea. Onboard the Coral Princess, restaurants remained
                    25   open, activities continued as usual, and passengers were allowed to congregate and
                    26
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                         64
                    28      https://www.pwc.com/sg/en/tax/assets/covid19-information-on-travel-
       ♼                 restrictions.pdf (last accessed August 28, 2020).
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                         40
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                     1   socialize in crowds without any restrictions or safeguards. There was no mention of
                     2   the coronavirus.
                     3         120. March 19, 2020 was supposed to be the last day of the cruise. At 1:00
                     4   p.m., the Coral Princess arrived in Buenos Aires. By then, the NAHM’s had already
                     5   missed their 11:58 a.m. flight home and were not allowed to disembark. At 4:00 p.m.,
                     6   passengers began to disembark and head for the airport to catch their flights home.
                     7   However, 160 passengers missed their flights and returned to the ship. At midnight,
                     8   the Captain’s broadcast informed passengers that the Coral Princess would depart
                     9   Buenos Aires for Uruguay, but no other information was provided. This was the first
                    10   time they heard about a pandemic but there was no mention of the coronavirus
                    11   onboard.
                    12         121. On March 20, 2020, the Coral Princess arrived in Uruguay but was
                    13   denied anchor. Onboard the Coral Princess, restaurants remained open, activities
                    14   continued as usual, and passengers were allowed to congregate and socialize in crowds
                    15   without any restrictions or safeguards. There was no mention of the coronavirus.
                    16         122. From March 21 to 23, 2020, the Coral Princess remained at sea. The
                    17   Captain’s broadcast informed passengers that the ship would head to Rio de Janeiro,
                    18   Brazil. Throughout this time onboard the Coral Princess, restaurants remained open,
                    19   activities continued as usual, and passengers were allowed to congregate and socialize
                    20   in crowds without any restrictions or safeguards. There was no mention of the
                    21   coronavirus.
                    22         123. On March 24, 2020, the Coral Princess arrived in Rio de Janeiro at 4:00
                    23   p.m., but was denied anchor.      At 6:00 p.m., the captain’s broadcast informed
                    24   passengers that the Coral Princess was heading for Miami, Florida. No further
                    25   explanation was given to the passengers.
                    26         124. Up until March 26, 2020, the NAHMS made the best of remaining on the
                    27   Coral Princess along with all of the other passengers. Onboard the Coral Princess,
                    28   restaurants remained open, activities continued as usual, and passengers were allowed
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 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          41
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                     1   to congregate and socialize in crowds without any restrictions or safeguards. There
                     2   was no mention of the coronavirus. The NAHMS and their friends participated in a
                     3   golf putting tournament, ukulele lessons, and made the best of being onboard as they
                     4   were told they were heading back to the United States.
                     5         125. Everything changed for the NAHMS by the evening of March 26, 2020,
                     6   when MRS. NAHM became ill with a fever and cough. MR. NAHM felt ill the next
                     7   day, March 27, with a fever, cough and diarrhea.
                     8         126. On March 28, 2020, MR. and MRS. NAHM went to the Coral Princess’s
                     9   medical center where they were told they had the A-1 influenza, given medication,
                    10   and sent back to their stateroom. On March 29, a nurse came to their stateroom to
                    11   check their temperatures, told them she would return, but never returned. The medical
                    12   staff instructed the NAHMS to stay in their stateroom.
                    13         127. On March 31, 2020, PRINCESS issued its official Coral Princess update
                    14   announcing an influenza outbreak on board. Communications issued aboard the ship
                    15   advised passengers exhibiting symptoms to call an extension to report to the medical
                    16   center. By that date, the NAHMS were both very sick, and went to the medical center
                    17   where they were given a nose swab but not told why. They later learned they were
                    18   tested for COVID-19.
                    19         128. On April 1, 2020, the NAHMS posted on social media a video they made
                    20   from their stateroom on the Coral Princess. In the heart-wrenching 57 second video,
                    21   MR. NAHM introduced himself and MRS. NAHM, stating they have been “stuck on
                    22   the Coral Princess cruise ship for days … were diagnosed with A-1 flu on Saturday
                    23   28 March, but not tested for Coronavirus.” MR. NAHM added that “the Captain said
                    24   there are sick people on the ship… they took our temperatures but did not tell us
                    25   why… everyone is quarantined in their rooms now.” MR. NAHM closed the video
                    26   by saying that “We are worried and scared what will happen.”
                    27   ///
                    28   ///
       ♼
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                         42
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                    13         129. Thereafter, on April 1, 2020, MR. NAHM’S test came back positive for
                    14   COVID-19, but he and MRS. NAHM were still left in their stateroom without medical
                    15   help. Nobody on the Coral Princess medical staff responded to the NAHM’S pleas
                    16   for help. They reached out to their son Paul Nahm in New Jersey, who desperately
                    17   sought help from DEFENDANTS via social media. The NAHMS’ son Paul was
                    18   advised that MR. NAHM was seen by a nurse and provided with new medication.
                    19         130. On April 2, 2020, the NAHMS’ son was advised by DEFENDANTS that
                    20   “the Senior Dr. was able to speak with them [the NAHMS] directly. We were
                    21   informed that your father is getting the care he needs at this time.” Nothing could be
                    22   further from the truth. The NAHMS were both sick and distressed with fever, cough,
                    23   diarrhea and vomiting in their stateroom.
                    24         131. On the evening of April 3, 2020, a ship’s nurse came to the NAHMS’
                    25   stateroom, advising them that MR. NAHM would be separated from MRS. NAHM to
                    26   relocate MR. NAHM closer to the medical center. The NAHMS were fearful of being
                    27   separated and objected, especially since they were both already sick and had been
                    28   quarantining together for days. The NAHMS felt they should be moved together
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 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          43
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                     1   closer to the medical center. In response to the NAHMS’ objections to being
                     2   separated, the nurse threatened them by stating that if MR. NAHM did not separate
                     3   and go to a different room, neither of them would receive any further medical
                     4   treatment. Thereafter, both NAHMS were ignored by DEFENDANTS.
                     5         132. On April 4, 2020, after the denial of permission to land at Fort
                     6   Lauderdale, the Coral Princess arrived in Miami. Five passengers were taken off the
                     7   ship immediately. Two of the five were sent to a local hospital in Miami and the three
                     8   others were airlifted to Tampa. The NAHMS, however, continued to be ignored and
                     9   kept onboard despite becoming sicker and their deteriorating conditions.
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                    23         133. On April 5, 2020, despite both being seriously ill, the NAHMS were still
                    24   ignored and kept onboard the Coral Princess. Apparently, they were not considered
                    25   serious enough. DEFENDANTS never administered X-Rays to either MR. NAHM
                    26   or MRS. NAHM. Finally, MRS. NAHM called the emergency number to report that
                    27   MR. NAHM was extremely ill, and DEFENDANTS finally started attending to him.
                    28   Around 9:00 pm on April 5, the NAHMS’ son finally heard from DEFENDANTS
       ♼
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          44
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                     1   who reported, “Hi Paul, we just heard from the ship that your father is in the onboard
                     2   medical center. Unfortunately, that is all the information we have at this time.”
                     3   Although MR. NAHM was finally seen by onboard medical personnel, there was no
                     4   update provided for MRS. NAHM. By late that evening, MR. NAHM’S condition
                     5   had deteriorated.
                     6         134. On April 6, 2020, MR. NAHM was fortunate that an ambulance was
                     7   available to rush him from the Coral Princess to Baptist Main Hospital in Miami,
                     8   Florida. He remained hospitalized and treated for COVID-19 for 34 days until May
                     9   10, 2020, when he was discharged and transported to the Crowne Plaza Hotel in
                    10   Miami, to quarantine alone until May 13. He took an Amtrak train to New York. MR.
                    11   NAHM did not arrive home until May 14, 2020, seventy-two days after departing for
                    12   what was supposed to be a two-week cruise with his wife and friends. As of this date,
                    13   MR. NAHM is continuing to recover and unable to return full-time to work.
                    14         135. Meanwhile, on April 5, 2020, while MR. NAHM was in the ship’s
                    15   medical center and later taken to the hospital, MRS. NAHM was left alone in their
                    16   stateroom and ignored by DEFENDANTS.              The NAHMS’ son pleaded with
                    17   DEFENDANTS to check on his mother MRS. NAHM “who is very ill… do we have
                    18   to wait until it’s an emergency?” DEFENDANTS’ agent reported to their son that
                    19   “she is feeling fine for now … She also was visited by the medical team about an hour
                    20   ago. We are working to have someone check on her twice per day.” Nothing could
                    21   be further from the truth.
                    22         136. On April 6, 2020, just after noon, MRS. NAHM, alone in her room and
                    23   ignored by Coral Princess crew, could not be reached by her son, and he pleaded for
                    24   help, asking “did my mother, Grace Nahm room A528, call 911 today? i cannot reach
                    25   her. My mother just called me saying she is being taken. pls get back to me asap.”
                    26   DEFENDANTS responded, “We’ll message you back as soon as we hear from them.”
                    27   The NAHMS’ son continued to get nowhere and was told to call the “family assistance
                    28   line.” After trying all day, he responded, “the number is a call center and they said
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 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                          45
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                     1   they have no idea what’s going on the ship now.” It was not until after 8 pm, that their
                     2   son received a message, “Hi Paul, we just heard that your mother is being medically
                     3   disembarked and is being taken to Baptist Main Hospital. That is all the information
                     4   that we have at this time.” He was referred back to the “family assistance line” for
                     5   further information.
                     6           137. From April 6 to 8, MRS. NAHM was hospitalized at Baptist Main
                     7   Hospital the in Miami with COVID-19. She did not see MR. NAHM. When she was
                     8   discharged, she was transported to the Hyatt Hotel in Miami for two nights, and was
                     9   then flown by Medevac on April 10 to Long Island, New York. No representative of
                    10   DEFENDANTS contacted the NAHM family to make sure that MRS. NAHM arrived
                    11   home safely. MRS. NAHM was gone for thirty-six days, for what should have been
                    12   a 14-day cruise. As of this date, MRS. NAHM still suffers physically and mentally,
                    13   is continuing to recover, and unable to return to any semblance of her prior normal
                    14   life.
                    15           138. As of the date of this filing, both MR. NAHM and MRS. NAHM are still
                    16   recovering from COVID-19 symptoms and confined to home in Syosset, New York.
                    17   They have not been reimbursed for many costs associated with their illness, including
                    18   medical and meals.
                    19           139. As a direct and proximate result of DEFENDANTS’ negligence and
                    20   gross negligence, MR. NAHM and MRS. NAHM were infected with SARS-CoV-2,
                    21   and contracted COVID-19 requiring medical treatment.
                    22           140. As a direct and proximate result of DEFENDANTS’ extreme and
                    23   outrageous conduct, including threatening and abandoning the NAHMS in their
                    24   stateroom for days after DEFENDANTS knew that the NAHMS had contracted
                    25   COVID-19, knew that the NAHMS’ conditions were deteriorating, even after making
                    26   anchor in Miami, Florida, but did not provide further medical treatment.
                    27           141. In addition to their disabling physical injuries, PLAINTIFFS were
                    28   traumatized by the fear of developing COVID-19. They were confined to the Coral
       ♼
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                            46
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                     1   Princess as the virus attacked and infected passengers on board the ship, and thereafter
                     2   were confined on board at PortMiami and at other locations in Florida as they
                     3   underwent treatment for COVID-19, separated from each other without knowledge
                     4   about the other, and ignored in isolation in quarantine.
                     5                CARNIVAL IS NOW UNDER CONGRESSIONAL
                     6                INVESTIGATION FOR THEIR KNOWLEDGE OF
                                      INFECTIONS
                     7

                     8         142. The history of CARNIVALS’ disregard of the health and welfare of their
                     9   passengers has not gone unnoticed as Congress looks into how so many people fell ill
                    10   aboard cruise ships in the present crisis and the industry’s failure to contain the spread
                    11   in time. On May 1, 2020, the Chair of the U.S. House of Representatives’ Committee
                    12   on Transportation and Infrastructure Peter DeFazio and the Chair of the House
                    13   Subcommittee on Coast Guard and Maritime Transportation Sean Patrick Maloney
                    14   summarized this history in a records request letter to CARNIVAL formally opening
                    15   an inquiry.65 In the words of the DeFazio-Maloney letter:
                    16                 Norovirus and other communicable diseases are not new
                                       public health threats to the cruise line industry. In 2010,
                    17                 the World Health Organization (WHO) identified
                                       norovirus and influenza outbreaks as “the major public
                    18                 health challenges for the cruise industry.” This
                                       assessment was made an entire decade before COVID-19
                    19                 emerged on the world’s stage. . . .

                    20                Cruise ships are a fertile breeding ground for infectious
                                      diseases due to their environmental conditions and
                    21                physical structure. “Cruise ships passengers spend
                                      prolonged periods in close proximity to other passengers
                    22                and crew, facilitating the rapid spread of highly infectious
                                      agents such as influenza,” the Journal of Travel Medicine
                    23                reported in 2018.Today, the CDC warns: “Cruise ships
                                      are often settings for outbreaks of infectious diseases
                    24                because of their closed environment, contact between
                                      travelers from many countries, and crew transfers
                    25                between ships.”

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                    27   65
                           Letter to Mr. Arnold W. Donald, President and CEO, Carnival Corporation &
                    28   PLC, from the Committee on Transportation and Infrastructure, U.S. House of
       ♼                 Representatives, Washington, D.C. (May 1, 2020). (last accessed June 5, 2020).
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                              47
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                     1         143. Nevertheless, CARNIVAL and PRINCESS disregarded this crucial
                     2   information and continued their operations as though nothing had changed, and
                     3   despite their vaunted commitment to help aboard their ships, continued marketing
                     4   their cruises largely as before. As the DeFazio-Maloney letter noted:
                     5                 As of April 23, 2020, none of the front facing web-pages
                                       from any of Carnival’s nine affiliated cruise lines , –
                     6                 Carnival Cruise Line, Princess Cruises, Holland America
                                       Line, Seabourn, P&O Cruises (Australia), Costa Cruises,
                     7                 AIDA Cruises, P&O Cruises (UK), and Cunard –
                                       mentioned a single word about COVID-19, coronavirus,
                     8                 or the precautions these cruise lines intend to take once
                                       the CDC lifts its “No Sail Order” for cruise lines. Instead,
                     9                 these sites are advertising various images of couples
                                       dining and dancing, musicians entertaining, and lines of
                    10                 children holding hands and playing.

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                    23   V.    NOTICE
                    24         144. Section 15(A)(i) of the Passage Contract purports to require that
                    25   claimants provide notice to PRINCESS and CARNIVAL of any potential claims
                    26   within six months from the date of the underlying harm before commencing
                    27
                         66
                    28     https://www.theguardian.com/world/2020/apr/04/coral-princess-cruise-ship-
       ♼                 docks-florida-coronavirus-pandemic. (last accessed June 5, 2020).
 LAW OFFICES
COTCHETT, PITRE &        COMPLAINT                                                                      48
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                     1   litigation. PLAINTIFF is resolute that this egregiously unfair provision is
                     2   unenforceable. Nevertheless, PLAINTIFFS have complied with this requirement by
                     3   providing written notice to DEFENDANTS’ by overnight mail on
                     4   September 2, 2020.
                     5   VI. CLAIMS
                     6                                       FIRST CLAIM
                     7                                       NEGLIGENCE
                     8                        (On Behalf of Mrs. Nahm and Mr. Nahm
                     9                                   Against Each Defendant)
                    10         145. PLAINTIFFS incorporate herein by reference all of the allegations in this
                    11   complaint.
                    12         146. As owners and operations of the Coral Princess, DEFENDANTS
                    13   CARNIVAL and PRINCESS, and/or each of them, and their agents, representatives,
                    14   employees, officers, and others, owed PLAINTIFFS a duty to use reasonable care to
                    15   prevent harm PLAINTIFFS and other invited passengers aboard the Coral Princess.
                    16         147. As owners and operations of the Coral Princess, DEFENDANTS
                    17   CARNIVAL and PRINCESS, and/or each of them, and their agents, representatives,
                    18   employees, officers, and others, participated in the boarding process, the decision to
                    19   set sail, the failure to provide personal protective equipment to PLAINTIFFS and
                    20   others on board, the failure to impose distancing requirements, and the failure to
                    21   sanitize the ship’s surfaces.
                    22         148. DEFENDANTS PRINCESS, in consultation with and with the full
                    23   authorization of CARNIVAL, and/or each of them, and their agents, representatives,
                    24   employees, officers, and others, negligently, carelessly, recklessly, and/or unlawfully
                    25   boarded the Coral Princess in San Antonio, Chile on March 5, 2020, which served as
                    26   the legal cause of injuries and damages herein suffered by PLAINTIFFS.
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                     1           149. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     2   their agents, representatives, employees, officers, and others, failed to act as a
                     3   reasonably careful reason would have acted in the same situation.
                     4           150. As alleged in more detail above, DEFENDANTS CARNIVAL and
                     5   PRINCESS, and/or each of them, and their agents, representatives, employees,
                     6   officers, and others, failed to use reasonable care to prevent harm to others, including
                     7   PLAINTIFFS herein, when (among other things) they failed to warn MR. and MRS.
                     8   NAHM of the deadly virus aboard the ship and allowed MR. and MRS. NAHM to
                     9   board without implementing any sort of protective measures.
                    10           151. MR. and MRS. NAHM were harmed by DEFENDANTS CARNIVAL
                    11   and PRINCESS’ negligence when they contracted and suffered from COVID-19.
                    12   Further, MR. and MRS. NAHM were harmed by DEFENDANTS CARNIVAL and
                    13   PRINCESS’ negligence when they suffered the distress of being stuck in their room
                    14   at sea with no explanation, contracting a deadly virus, threatened separation, withheld
                    15   necessary medical care, observing each other fall ill without explanation or medical
                    16   care, feared for each other’s lives and their own, and were unable to spend time be
                    17   together for an extended period of time.
                    18           152. The failure of DEFENDANTS CARNIVAL and PRINCESS to use
                    19   reasonable care to prevent harm was a substantial factor in causing PLAINTIFFS’
                    20   harm.
                    21           153. DEFENDANT PRINCESS, in consultation with and with the full
                    22   authorization of CARNIVAL, and/or each of them, and their agents, representatives,
                    23   employees, officers, and others, negligently, wrongfully, unlawfully, and/or recklessly
                    24   invited and boarded MR. and MRS. NAHM onto the deadly cruise ship armed with
                    25   COVID-19, without providing any notice, warning, or precautionary medical
                    26   apparatuses, such as masks, and without imposing any safety precautions, such as
                    27   social distancing, and/or imposing quarantine on prior exposed passengers and/or
                    28   crew. DEFENDANTS PRINCESS, in consultation with and with the full
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                     1   authorization of CARNIVAL, and/or each of them, and their agents, representatives,
                     2   employees, officers, and others,       negligently, wrongfully, unlawfully, and/or
                     3   recklessly boarded passengers, including PLAINTIFFS MR. and MRS. NAHM,
                     4   without disinfecting, decontaminating, and/or sanitizing the exposed surfaces of the
                     5   cruise ship and/or administering any COVID-19 tests or screening to any prior
                     6   passengers and/or crew, leaving all new passengers, including MR. and MRS.
                     7   NAHM, completely, unknowingly, and inescapably exposed to the deadly virus.
                     8         154. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     9   their agents, representatives, employees, officers, and others, ignored the “state of
                    10   emergency” declarations related to COVID-19 made by the Governors of both states
                    11   as of March 4, 2020, and instead made the negligent, wrongful, unlawful, and/or
                    12   reckless decision to continue cruise ship operations without implementing any safety
                    13   protocols and/or preventative measures, despite knowledge of the catastrophic risk to
                    14   human life that COVID-19 posed and despite knowledge of the specific and acute
                    15   threat the cruise ship industry presented related to COVID-19. The officers, directors,
                    16   and/or managing agents of DEFENDANTS, and/or each of them, knew of the specific
                    17   and acute threat the cruise ship industry presented related to COVID-19 as of March
                    18   4, 2020. The officers, directors, and/or managing agents of DEFENDANTS, and/or
                    19   each of them, also knew of the catastrophic risk COVID-19 posed to human life as of
                    20   March 4, 2020. Despite the aforementioned knowledge, the officers, directors, and/or
                    21   managing agents of DEFENDANTS, and/or each of them, made the negligent,
                    22   wrongful, unlawful, and/or reckless decision to continue cruise ship operations
                    23   without implementing any safety protocols and/or preventative measures to combat
                    24   the foreseeable, specific, and/or acute and catastrophic threat posed to their
                    25   passengers, including but not limited to, (a) screening and refusing to board
                    26   passengers and crewmembers with recent contact with countries experiencing
                    27   outbreak of COVID-19; (b) providing precautionary medical apparatuses, such as
                    28   masks, gloves and/or hand sanitizer; (c) imposing safety precautions on-board, such
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                     1   as social distancing; (d) disinfecting, decontaminating, and/or sanitizing the exposed
                     2   surfaces of the cruise ship prior to boarding passengers; and/or (e) changing how they
                     3   off-board and on-board passengers to the ship, instead of using practices where
                     4   passengers off-boarding the ship come in close contact with passengers on-boarding
                     5   the ship.
                     6           155. As a direct and legal result of the aforementioned wrongful conduct of
                     7   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                     8   representatives, employees, officers, and others, PLAINTIFFS both got COVID-19
                     9   on the Coral Princess.
                    10           156. DEFENDANT PRINCESS, as authorized by CARNIVAL, and/or each
                    11   of them, and their agents, representatives, employees, officers, and others, also sold
                    12   PLAINTIFFS the air travel that conveyed them to the cruise departure point from New
                    13   York.
                    14           157. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    15   their agents, representatives, employees, officers, and others, participate in the
                    16   marketplace as common carriers. Tickets for its cruises are marketed to the general
                    17   public. In addition to a vacation, as part of the contractual relationship reached
                    18   between DEFENDANTS and their customers, passengers aboard DEFENDANTS’
                    19   cruise ships may reasonably expect and do expect safe passage on ocean-worthy
                    20   vessels free from any known or knowable dangers or perils.
                    21           158. Common carriers must carry passengers safely. Common carriers must
                    22   use the highest care and the vigilance of a very cautious person. They must do all that
                    23   human care, vigilance, and foresight reasonably can do under the circumstances to
                    24   avoid harm to passengers. While a common carrier does not guarantee the safety of
                    25   its passengers, it must use reasonable skill to provide everything necessary for safe
                    26   transportation, in view of the transportation used and the practical operation of the
                    27   business. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    28   their agents, representatives, employees, officers, and others, failed to do so here.
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                     1         159. As a further direct and legal result of the wrongful conduct of
                     2   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                     3   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFFS
                     4   were injured in their health, strength, and activity, sustained injuries to body and mind,
                     5   all of which have caused PLAINTIFFS great physical, mental, emotional, and nervous
                     6   pain and suffering.      PLAINTIFFS are informed and believe, and upon such
                     7   information and belief allege, that such injuries have resulted in debilitating injuries,
                     8   all to their general damage in a sum according to proof.
                     9         160. As a further direct and legal result of the wrongful conduct of
                    10   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    11   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFFS
                    12   are required to, and continues to, employ physicians and other health care providers
                    13   to examine, treat and care for her injuries, and have incurred, and will continue to
                    14   incur, medical and incidental expenses for such examination, treatment rehabilitation
                    15   and care in an amount according to proof.
                    16         161. As a further direct and legal result of the wrongful conduct of
                    17   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    18   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFF
                    19   MR. NAHM was gainfully employed, and/or capable of gainful employment through
                    20   his education, training, and/or experience. By further reason of DEFENDANTS’
                    21   wrongful conduct hereinabove alleged, PLAINTIFF MR. NAHM suffered a loss of
                    22   income and/or a loss of earning capacity in an amount according to proof.
                    23         162. As a further direct and legal result of the wrongful conduct of
                    24   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    25   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFFS
                    26   contemporaneously perceived they would die from COVID-19, and thereby suffered
                    27   extreme emotional distress, including nervousness, grief, anxiety, worry,
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                     1   mortification, shock, indignity, apprehension, terror or ordeal, all in an amount
                     2   according to proof.
                     3         163. As a further direct and legal result of the wrongful conduct of
                     4   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                     5   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFFS
                     6   suffered and continue to suffer loss of love, society, solace, companionship, comfort,
                     7   care, assistance, protection, affection, society, and moral support, all in an amount to
                     8   be determined.
                     9         164. As a further direct and legal result of the wrongful conduct of
                    10   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    11   representatives, employees, officers, and others, hereinabove alleged, PLAINTIFFS
                    12   incurred expenses, all in an amount to be determined.
                    13         165. In doing the wrongful acts as hereinabove alleged, DEFENDANTS
                    14   CARNIVAL and PRINCESS, and/or each of them, and their agents, representatives,
                    15   employees, officers, and others, acted with oppression, fraud, and malice and/or with
                    16   conscious and/or willful disregard for the health, safety and general welfare and rights
                    17   of PLAINTIFFS. Such actions were done with malice, oppression, fraud, and/or
                    18   conscious disregard for human life and were and are despicable, shocking and
                    19   offensive and entitle PLAINTIFFS to an award of punitive damages against
                    20   DEFENDANTS in an amount to be determined at trial. DEFENDANTS’ failure to
                    21   heed the warnings of the California and Florida Governors and the CDC and to apply
                    22   the knowledge gained from the outbreaks aboard the Diamond Princess and Grand
                    23   Princess, decision to proceed with cruise ship operations, including the Coral Princess
                    24   cruise, without changing any operations to better safeguard passengers’ health and/or
                    25   safety, including but not limited to,      pre-screening passengers, disinfecting or
                    26   decontaminating the ship, providing masks and/or gloves, was an extreme departure
                    27   from what a reasonable cruise ship owner and operator would do and reflects
                    28   callousness and an extreme, willful, and outrageous disregard for the health and safety
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                     1   of its passengers. Especially considering the DEFENDANTS’ knowledge of the
                     2   specific, acute, and/or foreseeable threat that cruise ships, and their ships in particular,
                     3   posed related to COVID-19 and catastrophic risk to human life that COVID-19 posed.
                     4   In all of these decisions, DEFENDANTS were driven by profit, and chose not to
                     5   expend resources for the safety and health of passengers, but rather keep them ignorant
                     6   and in the dark so they would proceed to enjoy their vacation as planned and spend
                     7   money on onboard purchases, where DEFENDANTS CARNIVAL and PRINCESS,
                     8   and/or each of them, and their agents, representatives, employees, officers, and others,
                     9   make their largest profits.
                    10                                      SECOND CLAIM
                    11            INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    12                         (On Behalf of Mrs. Nahm and Mr. Nahm
                    13                                  Against Each Defendant)
                    14         166. PLAINTIFFS incorporate herein by reference all of the allegations in this
                    15   complaint.
                    16         167. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    17   their agents, representatives, employees, officers, and others, knew or should have
                    18   known of the actual risk of the viral contagion or novel coronavirus now known as
                    19   SARS-CoV-2, and the resulting disease COVID-19, aboard their cruise ships,
                    20   particularly based on their experience with COVID-19 outbreak aboard the Diamond
                    21   Princess four weeks prior to the instant voyage aboard the Coral Princess.
                    22   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    23   representatives, employees, officers, and others, knew or should have known that it
                    24   was especially dangerous, and extreme and outrageous, to expose PLAINTIFFS and
                    25   other passengers to COVID-19.
                    26         168. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    27   their agents, representatives, employees, officers, and others, knew or should have
                    28   known of the extreme risks to the health and safety, including the possibility of serious
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                     1   illness and death, presented by COVID-19, by or before the time of boarding
                     2   PLAINTIFFS and other passengers onto the Coral Princess on March 5, 2020.
                     3         169. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     4   their agents, representatives, employees, officers, and others, exhibited and/or
                     5   engaged in extreme and outrageous conduct when, for example, DEFENDANTS
                     6   boarded PLAINTIFFS onto the Coral Princess on March 5, 2020, without warning
                     7   and/or taking any effective measures to screen or examine passengers, given their
                     8   prior knowledge and experience with the coronavirus and COVID-19 illnesses and
                     9   deaths, and particularly given that cruise ships present an especially heightened risk
                    10   of contagion.
                    11         170. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    12   their agents, representatives, employees, officers, and others, knew or should have
                    13   known during the instant voyage aboard the Coral Princess that one or more
                    14   passengers were experiencing symptoms of COVID-19, but passengers were told that
                    15   their illness was the A-1 flu.
                    16         171. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    17   their agents, representatives, employees, officers, and others, exhibited and/or
                    18   engaged in extreme and outrageous conduct when they chose not to effectively clean,
                    19   sanitize, sterilize, or disinfect the Coral Princess during the instant voyage.
                    20         172. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    21   their agents, representatives, employees, officers, and others, exhibited and/or
                    22   engaged in repeated and continued extreme and outrageous conduct when they failed
                    23   to do a number of things including, without limitation, alert PLAINTIFFS and other
                    24   passengers to the fact that at least one passenger on the trip was experiencing COVID-
                    25   19 symptoms and had come into contact with other passengers and crew members;
                    26   failed to notify PLAINTIFFS and other passengers about the potential and actual
                    27   threat of exposure to, infection with, and the possibility of spreading the coronavirus
                    28   and COVID-19 aboard the ship; failed to advise PLAINTIFFS and other passengers
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                     1   about the possibility and health benefits of disembarking during the voyage, at one of
                     2   the ship’s ports of call; and failed to notify PLAINTIFFS and other passengers of the
                     3   risks of remaining onboard the ship for the March 5, 2020 embarkation through South
                     4   America.
                     5         173. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     6   their agents, representatives, employees, officers, and others, continued to exhibit
                     7   and/or engage in extreme and outrageous conduct when the voyage was supposed to
                     8   end on March 19, 2020, but passengers were not allowed to disembark, and port after
                     9   port refused to allow the Coral Princess to anchor, but onboard the Coral Princess
                    10   restaurants remained open, activities continued as usual, and passengers were allowed
                    11   to congregate and socialize in crowds without any restrictions or safeguards, and
                    12   without implementing any policies for quarantine, isolation, or social distancing.
                    13   There was no mention of the coronavirus.
                    14         174. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    15   their agents, representatives, employees, officers, and others, continued to exhibit
                    16   and/or engage in extreme and outrageous conduct when PLAINTIFFS were forced to
                    17   suffer as they both became ill with COVID-19 and their conditions continued to
                    18   deteriorate, made worse when DEFENDANTS’ nurse from the Coral Princess
                    19   medical center threatened to withhold any further medical treatment for MR. NAHM
                    20   and MRS. NAHM when the NAHMS objected to being separated after being ill and
                    21   quarantining together for days. Thereafter, the NAHMS were never visited again or
                    22   treated by the Coral Princess medical staff or crew and were left abandoned as their
                    23   conditions deteriorated.    Even after the Coral Princess docked in Miami and
                    24   passengers were evacuated to hospitals, the NAHMS were ignored until they pleaded
                    25   for help, and their son pleaded for help via social media. As alleged herein, the
                    26   extreme and outrageous conduct of DEFENDANTS CARNIVAL and PRINCESS,
                    27   and/or each of them, and their agents, representatives, employees, officers, and others,
                    28   was simply despicable and inhumane.
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                     1         175. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     2   their agents, representatives, employees, officers, and others, intended to cause
                     3   PLAINTIFFS emotional distress. Alternatively, DEFENDANTS CARNIVAL and
                     4   PRINCESS, and/or each of them, and their agents, representatives, employees,
                     5   officers, and others, acted with reckless disregard of the probability that PLAINTIFFS
                     6   would suffer emotional distress.
                     7         176. As a direct and proximate result of the extreme and outrageous conduct
                     8   of DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their
                     9   agents, representatives, employees, officers, and others, as to their extreme departure
                    10   from the ordinary standard of care and their failure to meet their duties of care to
                    11   PLAINTIFFS, which exposed PLAINTIFFS to COVID-19, PLAINTIFFS suffered
                    12   illness and injury as described herein.
                    13         177. As a further direct and proximate result of the extreme and outrageous
                    14   conduct of DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                    15   their agents, representatives, employees, officers, and others, in which PLAINTIFFS
                    16   were exposed to an actual risk of immediate physical illness and injury, and did
                    17   contract COVID-19, PLAINTIFFS suffered severe emotional distress of the nature
                    18   and type that reasonable persons would suffer under the circumstances alleged herein
                    19   including, but not limited to, fear, despair, anguish, horror, terror, nervousness, grief,
                    20   trauma, anxiety, worry, shock, humiliation, and shame related to their own risk of
                    21   contracting COVID-19, and by the past and ongoing threat to their own health in the
                    22   present and future given the unknown negative health outcomes and complications
                    23   associated with COVID-19.
                    24         178. PLAINTIFFS were endangered and harmed by the acts and omissions of
                    25   DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and their agents,
                    26   representatives, employees, officers, and others, when PLAINTIFFS traveled on an
                    27   infected vessel without appropriate information about the risks facing them. It is
                    28   reasonable to expect that PLAINTIFFS will continue to suffer and will, now and
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                     1   continuing into the future, require medical care or services not of a kind generally
                     2   associated with the normal conditions, or wear and tear, of daily life.
                     3            179. DEFENDANTS CARNIVAL and PRINCESS, and/or each of them, and
                     4   their agents, representatives, employees, officers, and others, throughout the events
                     5   herein described, repeatedly acted with conscious, callous, and/or reckless disregard
                     6   for the rights, interests, health and safety of their passengers, such that the imposition
                     7   of punitive damages, under California Civil Code Section 3294 and/or all other
                     8   applicable laws, is necessary and appropriate to punish them for their extreme and
                     9   outrageous conduct, and to deter them and others, and to protect the public, from the
                    10   consequences of similar acts or omissions.
                    11            180. DEFENDANTS’ CARNIVAL and PRINCESS, and/or each of them, and
                    12   their agents, representatives, employees, officers, and others, conduct as described
                    13   herein was a substantial factor in causing PLAINTIFFS’ severe and ongoing
                    14   emotional distress.
                    15   VII.       PRAYER FOR RELIEF AND DEMAND FOR JURY
                    16            WHEREFORE, PLAINTIFFS, on behalf of themselves and all persons
                    17   similarly situated, respectfully prays that this Court grant the following relief:
                    18            1.   For compensatory and general damages in an amount according to proof;
                    19            2.   For past and future medical, incidental, and service expenses according to
                    20   proof;
                    21            3.   For pre- and post-judgment interest on all damages as allowed by the law;
                    22            4.   For costs of suit incurred herein;
                    23            5.   For attorney fees under existing law;
                    24            6.   For an award of punitive damages;
                    25            7.   For such other and further relief as the Court may deem just and proper.
                    26   ///
                    27   ///
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                     1                                   JURY DEMAND
                     2   PLAINTIFF further demands trial by jury on all issues.
                     3

                     4
                         Dated: October 23, 2020       COTCHETT, PITRE & McCARTHY, LLP

                     5                                        By: /s/ Nanci E. Nishimura
                     6
                                                                  NANCI E. NISHIMURA
                                                                  KELLY W. WEIL
                     7                                            JAMES G. DALLAL
                     8
                                                                 Attorneys for Plaintiffs

                     9   Dated: October 23, 2020        ANDERLINI & McSWEENEY LLP
                    10
                                                              By: /s/ P. Terry Anderlini
                    11                                            P. TERRY ANDERLINI
                    12                                           Attorneys for Plaintiffs

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